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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION

BRIANNE DRESSEN, ERNEST
RAMIREZ, SHAUN BARCAVAGE,
SUZANNA NEWELL, NIKKI HOLLAND,
and KRISTI DOBBS,

               Plaintiffs,
                                                      COMPLAINT FOR
       v.                                             DECLARATORY AND INJUNCTIVE
                                                      RELIEF
ROB FLAHERTY, White House Director of
Digital Strategy, in his official capacity;           JURY TRIAL DEMANDED
JOSEPH R. BIDEN, JR., President of the
United States, in his official capacity;
KARINE JEAN-PIERRE, White House                       Case No. 3:23-cv-155
Press Secretary, in her official capacity;
COURTNEY ROWE, White House Covid-
19 Director of Strategic Communications and
Engagement, in her official capacity;
CLARKE HUMPHREY, White House
Digital Director for the Covid-19 Response
Team, in her official capacity;
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; XAVIER
BECERRA, Secretary of the Department of
Health and Human Services, in his official
capacity; VIVEK MURTHY, United States
Surgeon General, in his official capacity;
ERIC WALDO, Chief Engagement Officer
for the Surgeon General, in his official
capacity; CENTERS FOR DISEASE
CONTROL AND PREVENTION; CAROL
Y. CRAWFORD, Chief of the Digital Media
Branch of the Division of Public Affairs at the
CDC, in her official capacity;
DEPARTMENT OF
HOMELAND SECURITY; ALEJANDRO
MAYORKAS, Secretary of the Department
of Homeland Security, in his official capacity;
CYBERSECURITY AND
INFRASTRUCTURE SECURITY
AGENCY; JEN EASTERLY, Director of



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 the Cybersecurity and Infrastructure Security
 Agency, in her official capacity;
 THE STANFORD INTERNET
 OBSERVATORY; ALEX STAMOS,
 Director of the Stanford Internet Observatory;
 RENEE DIRESTA, Research Manager of the
 Stanford Internet Observatory;

                Defendants.

                              INTRODUCTORY STATEMENT

       It is axiomatic that the government may not “induce, encourage, or promote private persons

to accomplish what it is constitutionally forbidden to accomplish.” Norwood v. Harrison, 413

U.S. 455, 465 (1973). Nor may it coerce or induce a private entity to take action that the

Constitution prohibits the government from doing directly. Biden v. Knight First Amend. Inst. at

Columbia Univ., 141 S. Ct. 1220, 1226 (2021) (Thomas, J., concurring).

       Indeed, it is essential to free government that the First Amendment be safeguarded “to the

ends that men may speak as they think on matters vital to them and that falsehoods may be exposed

through the processes of education and discussion.” Thornhill v. Alabama, 310 U.S. 88, 95 (1940).

As George Orwell put it, “[i]f liberty means anything at all, it means the right to tell people what

they do not want to hear.” It is not the government’s role to curate, filter, or suppress disfavored

speech before it reaches the eyes and ears of American citizens. Yet, that is precisely what

transpired—and continues to occur—here.

       This case challenges the government’s mass-censorship program and the shocking role that

it has played (and still plays) in ensuring that disfavored viewpoints deemed a threat to its agenda

are suppressed. This sprawling censorship enterprise has involved the efforts of myriad federal

agencies and government actors (including within the White House itself) to direct, coerce, and,

ultimately, work in concert with social media platforms to censor, muffle, and flag as


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“misinformation” speech that conflicts with the government’s preferred narrative—including

speech that the government explicitly acknowledges to be true.

       Plaintiffs in this case—Brianne Dressen, Shaun Barcavage, Kristi Dobbs, Nikki Holland,

Suzanna Newell, and Ernest Ramirez—all use social media and have or had accounts on several

platforms, including Facebook, Instagram, YouTube, Twitter, TikTok, and GoFundMe. All

Plaintiffs except for Mr. Ramirez suffered—and continue to experience—serious and debilitating

medical injuries within days (and, in many cases, hours) after taking one of the Covid vaccines.

Mr. Ramirez’s 16-year-old son Ernest Ramirez, Jr. died five days after taking his first dose of the

Pfizer Covid vaccine. All six Plaintiffs have relied on social media as a means of: sharing their

personal experiences after they, or a loved one, were medically harmed after taking the vaccine;

exchanging advice, medical research, and support with others who were injured after taking the

vaccine; and engaging with other users in private support groups for vaccine-injured individuals

and their loved ones. Plaintiffs’ use of social media in these ways has been met with heavy and

ongoing censorship.

       Plaintiffs’ speech has repeatedly been flagged as misinformation or removed entirely,

while their social media accounts are at constant risk of being frozen or disabled. For example, in

July of 2021, Facebook shut down a private support group for vaccine-injured individuals called

“A Wee Sprinkle of Hope,” of which Ms. Dressen was a member, after she posted an infographic

that listed certain symptoms that people had experienced post-Covid vaccine, as well as a link to

a press conference where she had recently spoken about her vaccine injuries. Facebook informed

her that the group was disabled for violating Facebook’s “Community Standards on

misinformation that could cause physical harm.”




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        In August of 2021, after Mr. Ramirez’s son died, he launched a GoFundMe page to help

fundraise enough money for a trip to Washington, D.C. to speak about his son’s story. A week

later, GoFundMe informed Mr. Ramirez that his account had been removed for violating the

platform’s terms of service for “Prohibited Conduct.” As a result, all the funds that Mr. Ramirez

had raised were forfeited. On November 11, 2021, which would have been his son’s seventeenth

birthday, Mr. Ramirez posted a photo on Facebook and Twitter of himself beside his son’s casket

at his funeral. The caption of the photo read: “My good byes to my Baby Boy.” Facebook flagged

the post with a warning box viewable to other users labeling it as “partly false information.”

Twitter deleted the photo altogether and warned Mr. Ramirez: “Make sure you’re sharing reliable

information. Visit the COVID-19 Information Center for reliable vaccine info and resources.”

       On multiple occasions, TikTok removed Ms. Holland’s video posts in which she shared

her personal experiences after taking the Covid vaccine, including her medical injuries and

recovery process. TikTok notified her that the videos violated “Community Guidelines” for

posting “violent and graphic content” and for “integrity and authenticity” concerns.

       In the summer of 2021, Mr. Barcavage created a private support group on Facebook for

those who were suffering tinnitus post-vaccination. Facebook frequently labeled posts within the

group as “misinformation” or with a message redirecting viewers to “more accurate information”

on the CDC website. As the group administrator, Mr. Barcavage had to develop code words with

the other members, such as “vee” for vaccines, to prevent posts, including links to news articles

and medical journals, from being flagged as misinformation or removed entirely.

       On June 28, 2021, Ms. Dobbs participated in a press conference held by U.S. Senator Ron

Johnson, along with other vaccine-injured individuals, where they shared their post-vaccine

experiences. Within twenty-four hours of the press conference, one of Ms. Dobbs’s private support



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groups on Facebook was shut down, and member lists were eliminated entirely under the claim

that the group had been spreading “misinformation.” A few days after the press conference,

another Facebook support group to which Ms. Dobbs belonged was shut down for posting a link

to the press conference and an infographic displaying symptoms that people had experienced post-

vaccination. As a result of Facebook’s shutdown of the group, Ms. Dobbs lost contact with nearly

two thousand other vaccine-injured individuals who had been members of the group.

       On September 30, 2022, Ms. Newell posted a video entitled “Kindness” on YouTube in

which she and a vaccine-injured friend discussed their difficult experiences and how “Team

Humanity” and the kindness of others had allowed them to maintain hope. They did not make any

claims about the Covid vaccine. YouTube removed the video for “misinformation” and for

violating its Community Guidelines.

       The vast majority of Plaintiffs’ censored speech was deeply personal and frequently

private. For attempting simply to engage with others and to discuss their own pain, experiences,

advice, and sources of hope, however, they have been met with censorship and accusations of

spreading lies and “inciting violence.” Through this irrational and brutal censorship regime,

Defendants have treated what is, in truth, personal and intimate speech as impermissible political

dissent to the government’s preferred policies. Thus, what began as personal and intimate has

been forcibly converted into political speech by government suppression. Plaintiffs are innocent

victims in the federal government’s exhaustive crusade against any message that might threaten—

or even question—its vaccination agenda.

       Under the First Amendment, the federal government must play no role in policing private

speech or picking winners and losers in the marketplace of ideas. Indeed, the Constitution’s text

is explicit: “Congress shall make no law … abridging the freedom of speech.” U.S. Const. Amend



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I. Hence, any law or policy that merely “abridges” or reduces the constitutionally protected sphere

of speech violates the First Amendment. Yet federal officials have been doing that and more here

as they chip away at the First Amendment’s guarantee of free speech and supplant it with what

amounts to government-induced censorship. Through threats, pressure, inducement, and coercion,

Defendants now work in concert with social media companies to censor content the government

deems “disinformation,” “misinformation,” and “malinformation”—a feat that the government

could never lawfully accomplish alone.          Secretary Mayorkas of DHS commented that the

government’s efforts to police private speech on social media are occurring “across the federal

enterprise.” It turns out that this statement is quite literally true.

        Defendants’ own words, documents from Twitter and the government itself, along with

discovery produced in the lawsuit Missouri v. Biden, chronicle Defendants’ extensive efforts in

staggering detail. Defendants are engaged in egregious violations of the First Amendment across

numerous federal agencies—including the White House, the Office of the Surgeon General, the

CDC, DHS, and CISA—as well as massive government/private joint censorship enterprises,

including the Stanford Internet Observatory’s “Virality Project,” to target and suppress speech on

the basis of content (i.e., Covid vaccine-related speech) and viewpoint (i.e., speech raising doubt

or concern about Covid vaccines’ safety and efficacy and the extent and severity of side effects).

        As alleged further herein, numerous emails, as well as evidence of regular meetings, phone

calls, and exchanges of information between Defendants and major social media platforms,

unveiled in Missouri v. Biden, the Twitter Files, and Defendants’ own public documents, reveal

that Defendants have been directing social media censorship of constitutionally protected speech

when it runs counter to the message that the government wishes to propagate. One of the primary




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objectives of Defendants’ mass censorship program has been to chill and suppress speech related

to the Covid vaccine and its—sometimes devastating—side effects.

        As just one example, in an email exchange in March, 2021 between a Facebook executive

and the White House Director of Digital Media, Rob Flaherty informed the Facebook executive:

“We are gravely concerned that your service is one of the top drivers of vaccine hesitancy—period.

… We want to know that you’re trying, we want to know how we can help, and we want to know

that you’re not playing a shell game … this would all be a lot easier if you would just be straight

with us.” In a clear attempt to appease the White House official, the Facebook executive replied

about a week later, informing Flaherty that Facebook had made a number of policy changes,

including the removal of “Groups, Pages and Accounts” containing, in the executive’s words,

“often-true content” that “can be framed as sensation, alarmist, or shocking.”1

        Among the Defendants is one private entity, the Stanford Internet Observatory (SIO),

which describes itself as “a cross-disciplinary program of research, teaching and policy

engagement for the study of abuse in current information technologies, with a focus on social

media.” During the Covid-19 pandemic, SIO launched the Virality Project (or VP) as a means of

tracking and censoring Covid-related speech on social media platforms. According to the Virality

Project’s report, dated April 26, 2022, the VP targeted speech by “domestic actors” (i.e., American

citizens) that “questioned the safety, distribution, and effectiveness of the vaccines.”2 According

to VP, true medical injuries and adverse health effects from the Covid vaccine qualify as

“misinformation” when “shared absent context.”3 Similarly, VP categorized as misinformation



1
  See Jenin Younes & Aaron Kheriaty, The White House Covid Censorship Machine, The Wall Street Journal (Jan.
8, 2023), https://www.wsj.com/articles/white-house-covid-censorship-machine-social-media-facebook-meta-
executive-rob-flaherty-free-speech-google-11673203704.
2
  Stanford Internet Observatory, et al., The Virality Project, “Memes, Magnets, and Microchips: Narrative Dynamics
Around COVID-19 Vaccines” (Apr. 26, 2022), https://purl.stanford.edu/mx395xj8490.
3
  Id.

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“[p]ersonal anecdotes,” and it deemed “adverse event stories” objectionable because they are

“employed to push back against vaccine mandates.”4 According to VP’s report, six major social

media platforms censored content at VP’s instigation: Facebook (including Instagram), Twitter,

Google (including YouTube), TikTok, Medium, and Pinterest. The report explains that such

censorship was effective in “deplatforming” recurring actors, which “led to an apparent reduction

in false or misleading content.”5

        In July, 2021, Ms. Dressen’s activities were detailed in a report created by the Virality

Project. The purpose of VP’s report was to cultivate “real-time detection, analysis, and response

to COVID-19 anti-vaccine and mis- and disinformation” and to support “information exchange

between public health officials, government, and social media platforms.”6 Under the heading

“Ongoing Themes and Tactics,” the report singles out Ms. Dressen and expresses skepticism of

her “claims [of] life-altering injuries,” concluding that: “An injury story that does not have a

proven causal link to the vaccine nevertheless garnered high spread because it was picked up by a

major anti-vaccine activist and by conservative politicians engaged in prior anti-vaccine

activities.”7 Notably, in June, 2021, Ms. Dressen visited the United States National Institutes of

Health (NIH) as part of its “Investigation of persistent neurological symptoms following SARS-

CoV2 vaccine.” NIH confirmed that she had suffered Covid vaccine-induced medical conditions.

This fact is not featured in VP’s report.

        Crucially, the Virality Project expressly admits that it works closely with federal

government agencies and officials to carry out this joint censorship enterprise—and that it seeks



4
  Id.
5
  Id.
6
  Virality Project Weekly Briefing #31, July 20, 2021 – July 27, 2021,
https://static1.squarespace.com/static/60025974f9f7920e6b40885b/t/6100842926d6617b4ab85e36/1627423792279/
Virality+Project+-+0727+Weekly+Briefing.pdf.
7
  Id.

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to develop even closer ties. According to its report, among VP’s key “stakeholders” are federal

health agencies, including CDC and the Office of the Surgeon General, which are engaged in

continuous, ongoing communication and close collaboration with VP to effect a “whole-of-

society” effort to include an active role for the government in censoring disfavored, vaccine-related

speech.8 As alleged in further detail herein, SIO has plainly worked in concert with the government

Defendants to censor speech on social media regarding the Covid vaccine and its side effects. SIO

is thus sued as a de facto government agent.

        The federal government has launched a war against purported mis-, dis-, and

malinformation, which it claims must be suppressed despite the First Amendment, to protect

American citizens from supposedly harmful or dangerous ideas. Indeed, Defendants admit to

suppressing truthful speech, including stories of vaccine side effects that it has expressly

acknowledged to be true, but which the government nevertheless targets for censorship because

such speech “could fuel vaccine hesitancy.”9 Experience, however, “should teach us to be most

on our guard to protect liberty when the Government’s purposes are beneficent.” Olmstead v.

United States, 277 U.S. 438, 479 (1928). The United States government was formed on the

principle that it exists to protect the sovereign rights of each individual American citizen. These

unconstitutional actions not only censor, but they also seek to control what ideas Americans might

have in the first place by, among other things, preventing them from reading about the harms

caused by Covid vaccines.

        Defendants’ massive and ongoing censorship enterprise has silenced, suppressed, and

chilled constitutionally protected speech on social media platforms—modern society’s public


8
  Stanford Internet Observatory, et al., The Virality Project, “Memes, Magnets, and Microchips: Narrative Dynamics
Around COVID-19 Vaccines” (Apr. 26, 2022), https://purl.stanford.edu/mx395xj8490.
9
  Twitter Files #19: The Great Covid-19 Lie Machine: Stanford, the Virality Project, and the Censorship of “True
Stories,” at https://twitter.com/mtaibbi/status/1636729166631432195.

                                                        9
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square. These actions have directly impacted the Plaintiffs in this case, all of whom have been

censored, flagged as “misinformants,” shadow-banned, maligned, cast in a false light, and denied

their rights to receive information and advice about Covid vaccine injuries and to freely associate

with other members of the vaccine-injured community—even in private support groups closed to

the public—as a result of Defendants’ actions, which lack any conceivable statutory or

constitutional authority. Defendants’ censorship operation continues unrepentant and unabated to

this day, and it gravely threatens the rights of free speech and free association of not only the

Plaintiffs, but of all Americans.

                                    JURISDICTION AND VENUE

          1.   This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331 and 28

U.S.C. § 1367 because the federal law claims arise under the Constitution and laws of the United

States.

          2.   Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because Plaintiff

Ernest Ramirez resides in this District.

          3.   This Court may issue a declaratory judgment and grant permanent injunctive relief

pursuant to 28 U.S.C. §§ 2201-2202.

                                            PARTIES

          4.   Plaintiff Brianne Dressen was formerly a preschool teacher in Saratoga Springs,

Utah. Due to the debilitating medical injuries that she experienced after taking the AstraZeneca

Covid vaccine as a part of a clinical trial, she has been unable to continue teaching. She resides in

Salt Lake City, Utah.

          5.   Plaintiff Shaun R. Barcavage was formerly a research nurse practitioner at Weill

Cornell Medicine. Due to the debilitating medical injuries that he experienced after taking his first



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dose of the Pfizer Covid vaccine, he is currently on disability leave. He resides in Riegelsville,

Pennsylvania.

        6.      Plaintiff Kristi Dobbs is a dental hygienist. Due to the debilitating medical injuries

that she experienced after taking her first dose of the Pfizer Covid vaccine, she was unable to return

to work until April, 2023, and she currently works one day a week. She resides in Joplin, Missouri.

        7.      Plaintiff Nikki Holland was formerly a full-time physical therapist. Due to the

debilitating medical injuries that she experienced after taking her second dose of the Moderna

Covid vaccine, she has been unable to return to work and is currently on disability leave. She

resides in Henry, Tennessee.

        8.      Plaintiff Suzanna Newell worked in financial services for over 25 years and served

most recently as the Vice President of Corporate Social Responsibility at a large bank in

Minneapolis. Due to the debilitating medical injuries that she experienced after taking her second

dose of the Pfizer Covid vaccine, she is currently on disability leave. She resides in Saint Paul,

Minnesota.

        9.      Plaintiff Ernest Ramirez is a service technician for a carwash company. His 16-

year-old son Ernest Ramirez, Jr. died five days after taking his first dose of the Pfizer Covid

vaccine. Mr. Ramirez resides in Edinburg, Texas.

        10.     Defendant Rob Flaherty is Deputy Assistant to the President and Director of Digital

Strategy at the White House. He is sued in his official capacity.

        11.     Defendant Joseph R. Biden, Jr., is the President of the United States. He is sued in

his official capacity.




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        12.       Defendant Karine Jean-Pierre is the White House Press Secretary. She is sued in

her official capacity. She is substituted for her predecessor, former White House Press Secretary

Jennifer Psaki.

        13.       Defendant Courtney Rowe is or was the White House Covid-19 Director of

Strategic Communications and Engagement. She is sued in her official capacity.

        14.       Defendant Clarke Humphrey is the White House Digital Director for the Covid-19

Response Team. She is sued in her official capacity.

        15.       Defendant Department of Health and Human Services (HHS) is a cabinet-level

executive agency within the government of the United States.

        16.       Defendant Dr. Vivek Murthy is Surgeon General of the United States. He is sued

in his official capacity.

        17.       Defendant Eric Waldo is Chief Engagement Officer for the Surgeon General. He

is sued in his official capacity.

        18.       Defendant Xavier Becerra is Secretary of HHS. He is sued in his official capacity.

        19.       Defendant Centers for Disease Control and Prevention (CDC) is a federal agency

under HHS.

        20.       Defendant Carol Crawford is Chief of the Digital Media Branch of the Division of

Public Affairs within the CDC. She is sued in her official capacity.

        21.       Defendant Department of Homeland Security (DHS) is a cabinet-level executive

agency within the Government of the United States.

        22.       Defendant Alejandro Mayorkas is Secretary of DHS. He is sued in his official

capacity.




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        23.       Defendant Cybersecurity and Infrastructure Security Agency (CISA) is an agency

within DHS that is charged with protecting the United States’ cybersecurity and physical

infrastructure.

        24.       Defendant Jen Easterly is the Director of CISA within DHS. She is sued in her

official capacity.

        25.       Hereinafter, Defendants Rob Flaherty, Joseph R. Biden, Jr., Karine Jean-Pierre,

Courtney Rowe, Clarke Humphrey, HHS, Dr. Vivek Murthy, Eric Waldo, Xavier Becerra, CDC,

Carol Crawford, DHS, Alejandro Mayorkas, CISA, and Jen Easterly will be referred to jointly as

the “Government Defendants.”

        26.       Defendant Stanford Internet Observatory (SIO) is “[a] program of [Stanford

University’s] Cyber Policy Center, a joint initiative of the Freeman Spogli Institute for

International Studies and Stanford Law School.” See Stanford Internet Observatory, Cyber Policy

Center, at https://cyber.fsi.stanford.edu/io. SIO describes itself as “a cross-disciplinary program

of research, teaching and policy engagement for the study of abuse in current information

technologies, with a focus on social media.”

        27.       In response to the Covid-19 pandemic, SIO launched the Virality Project, which is

a “coalition of research entities focused on supporting real-time information exchange between the

disinformation research community, public health officials, civil society organizations,

government agencies, and social media platforms.” See About, Virality Project, at

https://www.viralityproject.org/news/about. Through the Virality Project SIO contracts with

federal government agencies to censor Americans for expressing disfavored opinions about Covid-

19. SIO is sued as a de facto government agency.




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       28.     Defendant Alex Stamos is the Director of SIO. He is sued in his official capacity

as a de facto government actor.

       29.     Defendant Renee DiResta is the Research Manager at SIO. She is sued in her

official capacity as a de facto government actor.

       30.     On information and belief, the social media censorship activities of SIO alleged in

this Complaint were conducted under the direction of Stamos and DiResta.

       31.     Hereinafter, Defendants SIO, Alex Stamos, and Renee DiResta will be referred to

jointly as the “De Facto Government Defendants.”

                                     BASIC PRINCIPLES

I.     THE FIRST AMENDMENT PROTECTS AMERICANS’ RIGHTS TO EXPRESS, HEAR AND READ
       PERSPECTIVES THAT ARE CONTROVERSIAL, OUTSIDE THE MAINSTREAM, AND DIFFER
       FROM THE GOVERNMENT’S MESSAGING

       32.     The First Amendment to the United States Constitution prohibits Congress from

making laws “abridging the freedom of speech.” U.S. Const., amend. I.

       33.     “And the rights of free speech and free press are not confined to any field of human

interest.” Thomas v. Collins, 323 U.S. 516, 531 (1945); see also Knight First Amend. Inst. v.

Trump, 928 F.3d 226, 237 (2d Cir. 2019), vacated on other grounds, 141 S. Ct. 1220 (2021) (“As

a general matter, social media is entitled to the same First Amendment protections as other forms

of media.”).

       34.     The prohibition against restrictions on speech applies to all branches of

government. See Matal v. Tam, 137 S. Ct. 1744, 1757 (2017) (“The First Amendment prohibits

Congress and other government entities and actors from ‘abridging the freedom of speech[.]’”);

New York Times Co. v. United States, 403 U.S. 713, 714 (1971) (holding that Nixon

Administration’s attempt to prevent publication of classified information violated the First

Amendment).
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          35.   The bedrock of the First Amendment is that government officials lack power to

censor disfavored speakers and viewpoints.

          36.   “Debate on public issues should be uninhibited, robust, and wide-open.” New York

Times Co., 376 U.S. at 270; see Brown v. Entm’t Merchants Ass’n, 564 U.S. 786, 790 (2011) (“The

Free Speech Clause exists principally to protect discourse on public matters[.]”).

          37.   “We can have intellectual individualism and the rich cultural diversities that we

owe to exceptional minds only at the price of occasional eccentricity and abnormal attitudes. When

they are so harmless to others or to the State … the price is not too great. But freedom to differ is

not limited to things that do not matter much. That would be a mere shadow of freedom. The test

of its substance is the right to differ as to things that touch the heart of the existing order. If there

is any fixed star in our constitutional constellation, it is that no official, high or petty, can prescribe

what shall be orthodox in politics, nationalism, religion, or other matters of opinion, or force

citizens to confess by word or act their faith therein.” W. Va. State Bd. of Educ. v. Barnette, 319

U.S. 624, 642 (1943).

          38.   “[A]s a general matter, … government has no power to restrict expression because

of its message, its ideas, its subject matter, or its content.” Ashcroft v. American Civil Liberties

Union, 535 U.S. 564, 573 (2002).

          39.   Labeling      disfavored     speech      “disinformation,”      “misinformation,”       or

“malinformation” does not strip it of First Amendment protection.

          40.   Indeed, the Supreme Court has rejected the argument that “false statements, as a

general rule, are beyond constitutional protection.” United States v. Alvarez, 567 U.S. 709, 718

(2012).




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          41.   “Absent from those few categories where the law allows content-based regulation

of speech is any general exception to the First Amendment for false statements. This comports

with the common understanding that some false statements are inevitable if there is to be an open

and vigorous expression of views in public and private conversation, expression the First

Amendment seeks to guarantee.” Id. (quoting United States v. Stevens, 559 U.S. 460, 470 (2010)).

          42.   “Our constitutional tradition stands against the idea that we need Oceania’s

Ministry of Truth.” Id. at 723 (citing G. ORWELL, NINETEEN EIGHTY-FOUR (1949) (Centennial ed.

2003)).

          43.   “Were the Court to hold that the interest in truthful discourse alone is sufficient to

sustain a ban on speech … it would give government a broad censorial power unprecedented in

this Court’s cases or in our constitutional tradition. The mere potential for the exercise of that

power casts a chill, a chill the First Amendment cannot permit if free speech, thought, and

discourse are to remain a foundation of our freedom.” Id. at 723.

          44.   “The theory of our Constitution is ‘that the best test of truth is the power of the

thought to get itself accepted in the competition of the market.’” Id. at 728 (quoting Abrams v.

United States, 250 U.S. 616, 630 (1919) (Holmes, J., dissenting)).

          45.   “The First Amendment itself ensures the right to respond to speech we do not like,

and for good reason. Freedom of speech and thought flows not from the beneficence of the state

but from the inalienable rights of the person. And suppression of speech by the government can

make exposure of falsity more difficult, not less so. Society has the right and civic duty to engage

in open, dynamic, rational discourse. These ends are not well served when the government seeks

to orchestrate public discussion through content-based mandates.” Id. at 728.




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        46.    The First Amendment also protects the right to receive information. See Martin v.

U.S. E.P.A., 271 F.Supp.2d 38 (2002) (quoting Va. State Bd. of Pharmacy v. Va. Citizens

Consumer Council, 425 U.S. 748, 756 (1976) (“where a speaker exists …, the protection afforded

is to the communication, to its source and to its recipients both.”).

        47.    The right to receive information is “an inherent corollary of the rights to free speech

and press that are explicitly guaranteed by the Constitution” because “the right to receive ideas

follows ineluctably from the sender’s First Amendment right to send them.” Bd. of Educ., Island

Trees Union Free Sch. Dist. Number 26 v. Pico, 457 U.S. 853, 867 (1982) (emphasis in original).

See also id. (quoting Lamont v. Postmaster General, 381 U.S. 301, 308 (1965) (Brennan, J.,

concurring) (“The dissemination of ideas can accomplish nothing if otherwise willing addressees

are not free to receive and consider them. It would be a barren marketplace of ideas that had only

sellers and no buyers.”).

        48.    As the Supreme Court has recognized, “[a] fundamental principle of the First

Amendment is that all persons have access to places where they can speak and listen, and then,

after reflection, speak and listen once more.” Packingham v. North Carolina, 127 S. Ct. 1730,

1735 (2017).

II.     THE FIRST AMENDMENT SECURES AMERICANS’ FREEDOM OF EXPRESSIVE
        ASSOCIATION, INCLUDING THE RIGHT TO FORM AND FREELY COMMUNICATE WITHIN
        PRIVATE GROUPS WITHOUT ABRIDGMENT BY GOVERNMENT

        49.    “[T]he First Amendment’s protection extends beyond the right to speak.”

Rumsfeld v. Forum for Acad. & Inst’l Rts., Inc., 547 U.S. 47, 68 (2006). It also protects the

“right to associate for the purpose of speaking.” Id.

        50.    The freedom of expressive association secures the right to associate for the

purpose of engaging in those activities protected by the First Amendment, including the exercise



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of free speech. The Constitution guarantees freedom of association “as an indispensable means

of preserving other individual liberties.” Roberts v. U.S. Jaycees, 468 U.S. 609, 618 (1984).

       51.     As the Supreme Court has long recognized, “‘implicit in the right to engage in

activities protected by the First Amendment’ is ‘a corresponding right to associate with others in

pursuit of a wide variety of political, social, economic, religious, and cultural ends.’” Boy Scouts

of Am. v. Dale, 530 U.S. 640, 647 (2000) (quoting Roberts, 468 U.S. at 622).

       52.     The freedom of expressive association is “crucial in preventing the majority from

imposing its views on groups that would rather express other, perhaps unpopular, ideas.” Id. at

647-48. Moreover, the freedom of speech “could not be vigorously protected from interference

by the State unless a correlative freedom to engage in group effort toward those ends were not

also guaranteed.” Roberts, 468 U.S. at 622.

       53.     “An association must merely engage in expressive activity that could be impaired

in order to be entitled to [First Amendment] protection.” Id. at 655. Further, the First

Amendment “does not require that every member of a group agree on every issue,” nor does it

require that a group “trumpet its views from the housetops” in order for the group to receive First

Amendment protection for its expressive association. Id. at 655-56.

       54.     “The right to speak is often exercised most effectively by combining one’s voice

with the voices of others.” Rumsfeld, 547 U.S. at 68. “If the government were free to restrict

individuals’ ability to join together and speak, it could essentially silence views that the First

Amendment is intended to protect.” Id.




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III.     THE GOVERNMENT MAY NOT USE PRIVATE COMPANIES TO ACCOMPLISH WHAT IT
         CANNOT DO DIRECTLY

         55.   It is “axiomatic” that the government may not “induce, encourage, or promote

private persons to accomplish what it is constitutionally forbidden to accomplish.” Norwood v.

Harrison, 413 U.S. 455, 465 (1973).

         56.   Private action may be rendered state action by the government in many ways.

         57.   The government can be held responsible for private action “when it has exercised

coercive power or has provided such significant encouragement, either overt or covert, that the

choice must in law be deemed that of the State.” Blum v. Yaretsky, 457 U.S. 991, 1004 (1982);

see also Biden v. Knight First Amend. Inst. at Columbia Univ., 141 S. Ct. 1220, 1226 (2021) (“The

government cannot accomplish through threats of adverse government action what the

Constitution prohibits it from doing directly.”)

         58.   Coercion includes “the threat of invoking legal sanctions and other means of

coercion, persuasion, and intimidation.” Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963)

(even where private party is “free” to ignore government’s “advice” because its refusal would

violate no law, it is still state action when government induces private party to suppress speech

under thinly veiled threats of legal action).

         59.   “[A] public official who tries to shut down an avenue of expression of ideas and

opinions through ‘actual or threatened imposition of government power or sanction’ is violating

the First Amendment.” Backpage.com, LLC v. Dart, 807 F.3d 229, 230 (7th Cir. 2015) (Posner,

J.) (quoting Am. Fam. Ass’n v. City & Cnty. of San Francisco, 277 F.3d 1114, 1125 (9th Cir.

2002)). “Threatening penalties for future speech goes by the name of ‘prior restraint,’ and a prior

restraint is the quintessential first amendment violation.” Id. at 235 (quoting Fairley v. Andrews,

578 F.3d 518, 525 (7th Cir. 2009)).


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       60.     The censorship and suppression of speech that Defendants have coerced social

media platforms to impose on disfavored speakers, content, and viewpoints constitute prior

restraints on speech, which are the most severe restrictions and the most difficult to justify under

the First Amendment. “One obvious implication of” the First Amendment’s text “is that the

government usually may not impose prior restraints on speech.” Houston Cmty. Coll. Sys. v.

Wilson, 142 S. Ct. 1253, 1259 (2022).

       61.     In fact, “such compulsion so plainly violates the Constitution” that it is rarely

necessary for courts to have to step in. Janus v. AFSCME, 138 S. Ct. 2448, 2464 (2018).

       62.     “Further, the government actor need not have direct power to take adverse action

over a targeted entity for comments to constitute a threat, provided the government actor has the

power to direct or encourage others to take such action.” Nat’l Rifle Ass’n of Am. v. Cuomo, 350

F.Supp.3d 94, 115 (N.D.N.Y. 2018).

       63.     Where the government encouraged and pressured private actors “into adopting” the

government’s preferred policy, there is “significant encouragement, overt or covert[,]” constituting

government action. Mathis v. Pacific Gas & Electric Co., 891 F.2d 1429, 1431 (9th Cir. 1989).

       64.     The Government Defendants’ actions readily satisfy the above tests. As alleged

herein, the Government Defendants have coerced, encouraged, conspired and worked in concert

with private entities to carry out constitutionally forbidden actions, which have directly impacted

the Plaintiffs in this case. Further, the Government Defendants have used threats of adverse

government action, including threats of increased regulation, antitrust enforcement or legislation,

and repeal or amendment of Section 230 of the Communications Decency Act (CDA) immunity

to pressure private parties to increase censorship of free speech on their platforms.




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       65.     Ultimately, however, the text of the Constitution eliminates the need for a showing

of government coercion or a showing that private entities were somehow transformed into

government actors. The First Amendment bars government from “abridging the freedom of

speech.” U.S. Const. Amend I. Thus, at least in a claim against the government, the constitutional

question is simply whether government has caused a reduction in the freedom of speech—for

example, by pursuing policies of content or viewpoint discrimination—not whether the private

partner has been sufficiently coerced into becoming a government actor.

       66.     To be sure, Blum v. Yaretsky (described above) recites that “a State normally can

be held responsible for a private decision only when it has exercised coercive power or has

provided such significant encouragement, either over or covert, that the choice must in law be

deemed to be that of the State.” But Blum and its progeny in the Supreme Court were lawsuits

against private entities, seeking to hold them liable as governmental actors—not lawsuits against

government actors. (The sole exception was City of Cuyahoga Falls, Ohio v. Buckeye Community

Hope, 538 U.S. 188, 197 (2003), in which the Court cast aside the Blum analysis because “[n]ot

only did the courts below not directly address this theory of liability, but respondents also appear

to have disavowed this claim at oral argument” and “never articulated a cognizable legal claim on

these grounds.”) Thus, neither under the Constitution nor under Supreme Court precedent can the

standard in Blum be considered the measure of when a government defendant may be held

accountable for its conduct through private entities to violate constitutional rights.

       67.     Regardless of the legal analysis applied to the facts of this case, Defendants’

conduct in carrying out its mass censorship program through the actions of private entities has

abridged free speech and is therefore unlawful.




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IV.     PRIVATE PARTIES MAY QUALIFY AS STATE ACTORS SUBJECT TO THE CONSTITUTION’S
        CONSTRAINTS

        68.    There is no single test to identify state action on the part of a private entity. See,

e.g., Brentwood Acad. v. Tennessee Secondary Sch. Athletic Ass'n, 531 U.S. 288, 294 (2001).

However, Blum and other Supreme Court precedents allow a private party to qualify as a state

actor under certain circumstances.

        69.    First, private parties may be held to constitutional standards as state actors if “there

is a sufficiently close nexus between the State and the challenged action.” Blum, 457 U.S. at 1004.

        70.    Such a nexus exists when the government “has exercised coercive power or has

provided such significant encouragement, either overt or covert,” that the action can be deemed

that of the State. Id. This includes when the government “affirmatively commands” a private

party to take action or “is responsible for” the challenged action. Id. at 1005, 1011.

        71.    Second, “a private party’s joint participation with state officials” in unconstitutional

conduct “is sufficient to characterize that party as a ‘state actor.’” Lugar v. Edmondson Oil Co.,

457 U.S. 922, 936 (1982); see also Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921,

1928 (2019) (“[A] private entity can qualify as a state actor … when the government acts jointly

with the private entity.”). “It is enough that [the private actor] is a willful participant in joint

activity with the State or its agents.” Id. at 941 (quoting United States v. Price, 383 U.S. 787, 794

(1966)); see also Brentwood Acad., 531 U.S. at 294 (state action on the part of private party occurs

when there is “a symbiotic relationship between the [government] and the [private party].”)

        72.    State action through joint engagement occurs when the government “knowingly

accepts the benefits derived from unconstitutional behavior.” Kirtley v. Rainey, 326 F.3d 1088,

1093 (9th Cir. 2003). Joint action may also be proven by showing that government officials and




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private parties have acted in concert in effecting a particular deprivation of constitutional rights.

See, e.g., Gallagher v. Neil Young Freedom Concert, 49 F.3d 1442, 1453 (10th Cir. 1995).

        73.     Further, private acts may constitute joint state action if the private parties “have

conspired with a state official.” Sims v. Jefferson Downs Racing Ass’n, Inc., 778 F.2d 1068, 1076

(5th Cir. 1985). To establish a conspiracy, “[i]t is enough that [a private party] is a willful

participant in joint activity with the State or its agents.” Id. (citing United States v. Price, 383 U.S.

787, 794 (1966)).

        74.     Third, private action may constitute state action when the private entity is

“entwined with governmental policies” or when the government is entwined in the management

or control of the private action. Brentwood Acad., 531 U.S. at 296 (“Entwinement will support a

conclusion that an ostensibly private organization ought to be charged with a public character and

judged by constitutional standards”).

        75.     As alleged herein, the De Facto Government Defendants engaged with the federal

government in its massive government/private joint censorship enterprise through SIO’s “Virality

Project,” to target and suppress speech on the basis of content and viewpoint.

        76.     Through the Virality Project, the De Facto Government Defendants built strong ties

with several federal government agencies, most notably the Office of the Surgeon General and the

CDC, and engaged in continuous, ongoing communication with government officials (which, on

information and belief, continues to this day) to execute the government’s censorship scheme.

        77.     Through their willful and joint participation with the government in its

unconstitutional censorship enterprise and the powerful nexus between the De Facto Government

Defendants and the federal government—including many, if not all, of the Government




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Defendants—the De Facto Government Defendants plainly qualify as state actors under Supreme

Court precedent. Therefore, they must be held accountable as de facto government actors.

V.     AGENCIES ARE ONLY PERMITTED TO EXERCISE CONGRESSIONALLY DELEGATED
       AUTHORITY

       78.     “[A]gency actions beyond delegated authority are ultra vires and should be

invalidated.” Detroit Int’l Bridge Co, v. Gov. of Canada, 192 F.Supp.3d 54 (D.D.C. 2016); see

NFIB v. OSHA, 142 S. Ct. 661, 666 (2022) (OSHA vaccine mandate “extends beyond the agency’s

legitimate reach” as evidenced by the “lack of historical precedent, coupled with the breadth of

authority that the Secretary now claims”) (internal citations and quotation marks omitted).

       79.     Courts look to an agency’s enabling statute and subsequent legislation to determine

whether the agency has exceeded its authority. See Tiger Lily LLC v. U.S. Dep’t of Housing and

Urban Development, 525 F.Supp.3d 850, 861 (W.D. Tennessee), aff’d, 5 F.4th 666 (6th Cir. 2021)

(determining that CDC eviction moratorium was unlawful, as “to hold otherwise would be to

construe the statute so broadly as to grant this administrative agency unfettered power to prohibit

or mandate anything, which would ignore the separation of powers and violate the non-delegation

doctrine.”).

       80.     “A reviewing court owes no deference to the agency’s pronouncement on a

constitutional question and must make an independent assessment of a citizen’s claim of

constitutional right when reviewing agency decision-making.” Poett v. United States, 657 F. Supp.

2d 230, 241 (D.D.C. 2009) (internal citations and quotation marks omitted).

       81.     Under the APA, this Court is authorized to hold unlawful and set aside agency

action, findings, and conclusions that it determines to be contrary to constitutional rights or in

excess of statutory jurisdiction, authority, or limitations, or short of statutory right. See 5 U.S.C.

§§ 706(2)(B), (C).


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        82.     Also under the APA, agency action made reviewable by statute and final agency

action for which there is no other adequate remedy in a court are subject to judicial review. See 5

U.S.C. § 704.

        83.     Agency action is final if, first, it “marks the ‘consummation’ of the agency’s

decisionmaking process.” Bennett v. Spear, 520 U.S. 154, 178 (1997) (quoting Chicago &

Southern Air Lines, Inc. v. Waterman S.S. Corp., 333 U.S. 103, 113 (1948)).

        84.     Second, the action must be one by which “‘rights or obligations have been

determined,’ or from which ‘legal consequences will flow.’” Bennett, 520 U.S. at 178 (quoting

Port of Boston Marine Terminal Assn. v. Rederiaktiebolaget Transatlantic, 400 U.S. 62, 71

(1970)).

        85.     The actions of Defendants, alleged herein, on information and belief, reflect and

result from specific, discrete, and identifiable decisions of Defendants to adopt an unlawful social

media censorship scheme.

VI.     CONGRESS MAY NOT DELEGATE AUTHORITY COUNTER TO THE CONSTITUTION

        86.     “The powers of the legislature are defined and limited; and that those limits may

not be mistaken, or forgotten, the constitution is written.” Marbury v. Madison, 1 Cranch 137, 176

(1803). Indeed, “even under our modern, expansive interpretation of the Commerce Clause,

Congress’s regulatory authority is not without effective bounds.” United States v. Morrison, 529

U.S. 598, 608 (2000).

        87.     Congressional enactments that exceed Congress’s constitutional bounds are

invalid. Id. at 607; see also United States v. Lopez, 514 U.S. 549 (1995).

        88.     Congress is prohibited from conferring upon a federal agency power or authority

that is contrary to the Constitution. See, e.g., Bowsher v. Synar, 478 U.S. 714, 736 (1986) (“the

fact that a given law or procedure is efficient, convenient, and useful in facilitating functions of
                                                25
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government, standing alone, will not save it if it is contrary to the Constitution”) (citing I.N.S. v.

Chadha, 462 U.S. 919, 944 (1983)).

       89.     Further, “[a]n agency’s power is no greater than that delegated to it by Congress.”

Lyng v. Payne, 476 U.S. 926, 937 (1986).

       90.     Congress’s authority is “limited to those powers enumerated in the Constitution,”

as the Constitution withholds from Congress “a plenary police power that would authorize

enactment of every type of legislation.” United States v. Lopez, 514 U.S. at 566; see also Const.

Art. I, § 8. Although Congress enjoys authority under the Commerce Clause to regulate the

channels and instrumentalities of commerce among the states, Gibbons v. Ogden, 22 U.S. 1, 91

(1824), including electronic channels and instrumentalities, it may not regulate noneconomic

matters, such as speech, that were never within the scope of the Commerce Clause and that only

indirectly have a substantial effect on interstate commerce. See James Wilson, State House Yard

Speech (Oct. 6, 1787), at https://csac.history.wisc.edu/wp-content/uploads/sites/281/2017/07/

James_Wilson.pdf (“a power similar to that which has been granted for the regulation of

commerce” was not “granted to regulate literary publications,” and thus “the proposed system

possesses no influence whatever upon the press); United States v. Lopez, 514 U.S. at 557; United

States v. Morrison, 529 U.S. at 617.

       91.     Moreover, the text of the Constitution is explicit that: “Congress shall make no law

… abridging the freedom of speech.” U.S. Const. Amend I. Any law or policy that “abridges” or

reduces the sphere of constitutionally protected speech thus violates the First Amendment.

       92.     Therefore, even if (contrary to what is alleged herein) Defendants’ censorship

enterprise were within the bounds of the statutory authority delegated by Congress (it is not),

Defendants’ conduct would still, and does, remain ultra vires in violation of any conceivable



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constitutional authority. Congress is not constitutionally authorized to confer upon federal

agencies any power, purpose, or authority beyond the Constitution’s enumerated powers or that

violates the First Amendment.

                                        FACTS OF THE CASE

          I.    SOCIAL MEDIA COMPANIES IN THE TWENTY-FIRST CENTURY

          93.   Social media is widely understood to be “the modern public square.” Packingham,

137 S. Ct. at 1737 (2017).          Social media platforms provide “perhaps the most powerful

mechanisms available to a private citizen to make his or her voice heard.” Id.

          94.   “Today’s digital platforms provide avenues for historically unprecedented amounts

of speech, including speech by government actors.                Also unprecedented, however, is the

concentrated control of so much speech in the hands of a few private parties.” Knight First Amend.

Inst., 141 S. Ct. at 1221. This concentrated control enables government control.

          95.   On information and belief, Facebook has close to 3 billion registered users

worldwide, and over 180 million users throughout the United States.

          96.   According to a Pew Research study, 66 percent of adults report using Facebook,

and 31 percent of U.S. adults say they regularly obtain information about current events from the

site.10

          97.   On information and belief, Twitter has more than 340 million users worldwide,

including approximately 70 million users in the United States.11 Around 500 million tweets are

posted on Twitter every day, and they are accessible to non-Twitter users on the internet.




10
   See Mason Walker & Katerina Eva Matsa. News Consumption Across Social Media in 2021, Pew Res. Ctr. (Sept.
20, 2021), available at https://www.pewresearch.org/journalism/2021/09/20/news-consumption-across-social-
media-in-2021/.
11
   Adam Hughes & Stefan Wojcick, 10 Facts about Americans and Twitter, Pew Res. Ctr. (Aug. 2, 2019), available
at https://www.pewresearch.org/fact-tank/2019/08/02/10-facts-about-americans-and-twitter/.

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        98.      Twenty-seven percent of U.S. adults say that they use Twitter, and 14 percent of

U.S. adults say they regularly get news on Twitter.12

        99.      Forty-one percent of U.S. adults say they use Instagram,13 and 13 percent of U.S.

adults say that they regularly get news from the site.14

        100.     On information and belief, TikTok has more than one billion users worldwide,

including over 150 million users in the United States.

        101.     According to a Pew Research study, 21 percent of U.S. adults say that they use

TikTok,15 and 10 percent of U.S. adults say that they regularly get news from the site.16

        102.     On information and belief, YouTube has more than 4 billion hours of video views

every month. Videos on YouTube channels are visible to both YouTube users and to the general

public on the internet. An estimated 500 hours of video content are uploaded to YouTube every

minute.

        103.     Eighty-two percent of U.S. adults say that they use YouTube, and 25 percent of

U.S. adults say that they regularly get news on YouTube.17

        104.     Many social media platforms, including both Facebook and Twitter, permit

formation of private groups where users can join and communicate with each other. Posts in

private groups are visible only to other group members.

        105.     Social media platforms can suppress or censor speech by means other than removal

or suspension of accounts. Some of these methods are immediately known to an account’s owner



12
   Jacob Liedke & Katerina Eva Matsa, Social Media and News Fact Sheet, Pew Res. Ctr. (Sept. 20, 2022), at
https://www.pewresearch.org/journalism/fact-sheet/social-media-and-news-fact-sheet/.
13
   Adam Hughes & Stefan Wojcick, supra note 11.
14
   Liedke & Matsa, supra note 12.
15
   Brooke Auxier & Monica Anderson, Social Media Use in 2021, Pew Res. Ctr. (Apr. 7, 2021), at
https://www.pewresearch.org/internet/2021/04/07/social-media-use-in-20 21/.
16
   Liedke & Matsa, supra note 12.
17
   Id.

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and his or her audience, and some are not. These methods include, but are not limited to, imposing

warnings or strikes against accounts to chill disfavored speech, “shadow banning” disfavored posts

and accounts by making them less visible to other users or not at all, demonetizing content,

adjusting algorithms to suppress or de-emphasize speakers or messages, placing warning labels on

content, promoting negative comments on disfavored content, and requiring additional clicks to

access content.

        106.      All these methods ultimately serve to chill and suppress speech. Fearing the loss

of their valuable accounts, limits on the visibility and reach of their speech on the platforms, the

loss of connections with other users or members of social media groups, and/or the damage to their

credibility or standing to express their views, users self-censor to avoid making statements that

might be deemed to violate the social media companies’ rules for censoring and flagging speech

as “misinformation.”

II.     THE WHITE HOUSE AND SURGEON GENERAL’S OFFICE COERCE, PRESSURE, AND
        ENCOURAGE SOCIAL MEDIA COMPANIES TO CENSOR DISFAVORED SPEECH ABOUT
        COVID-19

        107.      On January 17, 2020, then-candidate and now-President Biden stated in an

interview with the New York Times editorial board that Section 230 of the Communications

Decency Act should be “revoked” because companies like Facebook did not adequately censor

false information in the form of political ads criticizing him.18 In the same interview, Biden

described Mark Zuckerberg, owner of Meta (Facebook and Instagram,) as “a real problem” and

advocated that he be held civilly liable for content that indirectly leads to harm, and possibly even

held criminally responsible.




18
   The Editorial Board, Joe Biden Says Age Is Just a Number, The New York Times (Jan. 17, 2020), at
https://www.nytimes.com/interactive/2020/01/17/opinion/joe-biden-nytimes-interview.html.

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        108.     During the presidential transition, on December 2, 2020, President Biden’s former

chief of staff and top technical advisor, Bruce Reed, publicly stated that it was “long past time to

hold the social media companies accountable for what’s published on their platforms,” referring

to amendment or repeal of Section 230 of the Communications Decency Act.19

        109.     On Saturday night, February 6, 2021 at 9:45 p.m., Rob Flaherty emailed Twitter to

demand the immediate removal of a parody or imposter account linked to Finnegan Biden, the

President’s adult daughter (“Please remove this account immediately”).20 He followed up by

saying “I have tried using your form three times and it won’t work—it is also ridiculous that I need

to upload my id to a form [to] prove that I am an authorized representative of Finnegan Biden.”21

        110.     Two minutes later, at 9:47 p.m., Twitter responded, “Thanks for sending this over.

We’ll escalate for further review from here.”22 Flaherty responded the same minute, “Cannot

stress the degree to which this needs to be resolved immediately.” Within 45 minutes, Twitter

informed Flaherty that it had suspended the account.23

        111.     The following day, Twitter emailed Flaherty and described steps he could take to

“streamline the process” for the White House’s censorship demands. Twitter offered to enroll

White House officials in Twitter’s Partner Support Portal for expedited review of flagging content

for censorship, recommending that Flaherty “designate a list of authorized White House staff for

Twitter’s Partner Support Portal.”24




19
   Biden Tech Advisor: Hold Social Media Companies Accountable for What Their Users Post, CNBC.com (Dec. 3,
2020), at https://www.cnbc.com/2020/12/02/biden-advisor-bruce-reed-hints-that-section-230-needs-reform.html.
20
   Plaintiffs’ Proposed Findings of Fact at 13, Missouri v. Biden, 576 F. Supp. 622 (E.D. Mo. 2023) (ECF No. 212-
3).
21
   Id.
22
   Id.
23
   Id.
24
   Id.

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       112.    Twitter noted that it had been recently bombarded with such requests for censorship

from the White House: “we would prefer to have a streamlined process strictly with your team as

the internal liaison. That is the most efficient and effective way to ensure we are prioritizing

requests. In a given day last week for example, we had more than four different people within the

White House reaching out for issues.”

       The Largest Worldwide Campaign—of Censorship

       113.    The next day, February 8, 2021, Facebook emailed Rob Flaherty, Courtney Rowe,

and Clarke Humphrey of the White House to explain how it had recently expanded its Covid-19

censorship policies. Facebook stated: “We wanted to make sure you saw our announcements

today about running the largest worldwide campaign to promote authoritative Covid-19 vaccine

information and expanding our efforts to remove false claims on Facebook and Instagram about

Covid-19, Covid-19 vaccines and vaccines in general during the pandemic.”

       114.    Under the heading, “Combating Vaccine Misinformation,” Facebook provided a

detailed list of expanded censorship policies: “We are expanding our efforts to remove false claims

on Facebook and Instagram about Covid-19, Covid-19 vaccines and vaccines in general during the

pandemic. Since December [i.e., during the Biden transition], we’ve removed false claims about

COVID-19 vaccines that have been debunked by public health experts. … [W]e are expanding the

list of false claims we will remove to include additional debunked claims about the coronavirus

and vaccines. … Groups, Pages and accounts on Facebook and Instagram that repeatedly share

these debunked claims may be removed altogether. We are also requiring some admins for groups

with admins or members who have violated our COVID-19 policies to temporarily approve all

posts within their group. … On Instagram, in addition to surfacing authoritative results in Search,




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in the coming weeks we’re making it harder to find accounts in search that discourage people from

getting vaccinated … .”25

         115.     Within 19 minutes of receiving this email, Flaherty responded in a displeased tone,

urging Facebook for more information about how strict the new policies would be. Quoting

Facebook’s email in italics, he wrote: “This line, of course, stands out: that repeatedly share these

debunked claims may be removed altogether. Can you share more about your framework here?

May, of course, is very different than ‘will.’ Is there a strike policy, ala Youtube? Does the

severity of the claims matter?” He also asked for specific data on the application of the censorship

policies: “And as far as your removal of claims, do you have data on the actual number of claims-

related posts you’ve removed? Do you have a sense of how many are being flagged versus how

many are being removed? Are there actions (downranking, etc.) that sit before removal? How are

you handling things that are dubious, but not provably false?”26

         Posts Cause “Political Violence”—Target Civic and Health-Related Groups

         116.     The next day, February 9, 2021, Flaherty followed up with Facebook with a demand

for more information and an accusation that Facebook’s failure to censor speech on its platforms

causes “political violence”: “All, especially given the Journal’s reporting on your internal work on

political violence spurred by Facebook groups, I am also curious about the new rules as part of the

‘overhaul.’ I am seeing that you will no longer promote civic and health related groups, but I am

wondering if the reforms here extend further? Are there other growth vectors you are controlling

for?” Flaherty suggested an oral meeting to discuss: “Happy to put time on the calendar to discuss

further.”27



25
   Id. at 15 (emphasis added).
26
   Id.
27
   Id. at 16.

                                                  32
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            117.   Facebook responded on February 9, 2021 with a detailed answer to each of

Flaherty’s questions about the enforcement of its new policies and an offer to discuss further.

            Flag and Suppress “Wrongthink”

            118.   Among other things, Facebook reported that it would “suspend the entire Page,

Group, or account” in case of repeat violations; that it “will begin enforcing this policy

immediately,” that for vaccine-skeptical content that does not violate Facebook’s policies,

Facebook will “reduce its distribution and add strong warning labels with more context, so fewer

people see the post,” and that Facebook was working to censor content that does not violate its

policies in other ways by “prevent[ing] posts discouraging vaccines from going viral on our

platforms; address[ing] content that experts believe dissuades people from getting the vaccine, but

does not violate our misinformation policies, through the use of information labels; and

prevent[ing] recommendations for Groups, Pages, and Instagram accounts that repeatedly push

content discouraging vaccines.”28

            119.   Facebook also promised Flaherty that it would aggressively enforce the new

censorship policies: “We will begin enforcing this policy immediately, with a particular focus on

Pages, Groups and accounts that violate these rules, and we’ll continue to expand our enforcement

over the coming weeks.”29

            120.   On February 24, 2021, Facebook emailed Rob Flaherty with the subject “Misinfo

Themes,” stating: “Following up on your request for COVID-19 misinfo themes we are seeing.

All the below claims violate our updated Covid and vaccine misinformation policies that we

announced earlier this month, and we are removing these claims from our platforms,” and




28
     Id.
29
     Id. at 17.

                                                 33
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identifying the following: “Vaccine Toxicity,” “False Claims About Side Effects of Vaccines,”

“Comparing the Covid Vaccine to the Flu Vaccine,” and “Downplaying Severity of COVID-19.”30

         Tell Us What Information You Are Not Censoring

         121.      Flaherty responded by requesting details about Facebook’s actual enforcement

practices and a report on misinformation that was not censored: “Can you give us a sense of volume

on these, and some metrics around the scale of removal for each? Can you also give us a sense of

misinformation that might be falling outside your removal policies? Goes without saying, just

because it’s on your list for removal hasn’t historically meant that it was removed, so I want to get

a sense of the state of play here!”31

         122.      Facebook promised to discuss this at an upcoming oral meeting: “Hope to cover a

lot of that on Monday … Can definitely go into detail on content that doesn’t violate like below

but could contribute to vaccine hesitancy.”32

         123.      On March 1, 2021, White House officials Rob Flaherty and Clarke Humphrey,

along with Joshua Peck of HHS, participated in a meeting with Twitter about misinformation.

After the meeting, Twitter emailed these officials and assured the White House that it would

increase censorship of “misleading information” on Twitter: “Thanks again for meeting with us

today. As we discussed, we are building on our continued efforts to remove the most harmful

COVID-19 misleading information from the service.”33




30
   Id.
31
   Id. at 17-18.
32
   Id. at 18.
33
   Id.

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          124.   On March 12, 2021, referring to previous oral communications with the White

House and HHS, Facebook emailed Flaherty “[f]ollowing up on our commitment to share our

survey data on vaccine uptake.”34

          125.   Facebook provided the White House with a detailed report and summary on the

topic and noted that the information had evidently been requested by or on behalf of “White House

/ HHS” officials: “Hopefully, this format works for the various teams and audiences within the

White House / HHS that may find this data valuable.”35

          126.   On March 15, 2021, at 3:20 a.m., Flaherty sent an email to Facebook

acknowledging, “[g]ood insights here,” but then immediately pivoted to demand more and

different data, linking a recent Washington Post article accusing Facebook of allowing the spread

of information about vaccine hesitancy, stating: “I’m more interested in the data that was outlined

in the Washington Post (https//www.washingtonpost.com/technology/202l/03/l4/facebook-

vaccine-hesistancy-qanon) [a]nd what interventions you are testing/their effectiveness.”36

          127.   This would become a standard tactic of the White House: linking to articles critical

of Facebook in the press, and then demanding more information or actions based on those articles.

          128.   The day before, Sunday, March 14, 2021, at 11:13 p.m., Flaherty had emailed a link

to the same article to Facebook, copying White House COVID-19 official Andrew Slavitt, with no

more text in the email and the subject line: “You are hiding the ball.”37




34
   Id. at 19.
35
   Id.
36
   Id.
37
   Id.

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            129.   The next morning, Facebook responded by stating, “there is a misunderstanding on

what this story is covering with respect to research that’s happening—I will call to clear up.

Certainly not hiding the ball.”38

            Censorship Expands to True but Disfavored Information

            130.   Flaherty responded accusatorily, referring to a series of at least three previous

conversations in which the White House had demanded more information from Facebook about

its censorship policies. He made clear that the White House was seeking more aggressive action

on “borderline” content—i.e., content that does not clearly violate Facebook’s own censorship

policies but which the White House demands action against anyway. Flaherty wrote: “I don’t

think this is a misunderstanding … I’ve been asking you guys pretty directly, over a series of

conversations, for a clear accounting of the biggest issues you are seeing on your platform when

it comes to vaccine hesitancy, and the degree to which borderline content—as you define it—is

playing a role.”

            Accusations of Non-Compliance and Dishonesty

            131.   Flaherty followed with a series of accusations that Facebook was prevaricating with

the White House about its “borderline” (i.e., not violative) content: “You said you would commit

to us that you’d level with us. I am seeing in the press that you have data on the impact of

borderline content, and its overlap with various communities. I have asked for this point blank,

and got, instead, an overview of how the algorithm works, with a pivot to a conversation about

profile frames, and a 45-minute meeting that seemed to provide you with more insights than it

provided us.”39




38
     Id.
39
     Id. at 20.

                                                   36
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         132.      He accused Facebook of being the “top driver[] of vaccine hesitancy,” demanded

action against “borderline” content, and stated that the White House wanted to be directly involved

in those efforts: “I am not trying to play ‘gotcha’ with you. We are gravely concerned that your

service is one of the top drivers of vaccine hesitancy—period. I will also be the first to

acknowledge that borderline content offers no easy solutions. But we want to know that you’re

trying, we want to know how we can help, and we want to know that you’re not playing a shell

game with us when we ask you what is going on. This would all be a lot easier if you would just

be straight with us.”40

         Facebook Bows in Submission and Contrition

         133.      Facebook responded to Flaherty on March 15, 2021: “We obviously have work to

do to gain your trust. You mention that you are not trying to play ‘gotcha’ with us—I appreciate

the approach you are taking to continued discussions. We are also working to get you useful

information that’s on the level. That’s my job and I take it seriously—I’ll continue to do it to the

best of my ability, and I’ll expect you to hold me accountable.”41

         134.      The same day, Andrew Slavitt (who had been copied on these exchanges between

Facebook and Flaherty) weighed in, accusing Facebook of dishonesty in a series of oral meetings:

“It would [be] nice to establish trust. I do feel like relative to others, interactions with Facebook

are not straightforward and the problems are worse—like you are trying to meet a minimum hurdle

instead of trying to solve the problem and we have to ask you precise questions and even then we

get highly scrubbed party line answers. We have urgency and don’t sense it from you all. 100%

of the questions I asked have never been answered and weeks have gone by.”42



40
   Id. at 20-21.
41
   Id.
42
   Id.

                                                 37
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       135.    Slavitt then threatened unspecified Executive action against Facebook in retaliation

for Facebook’s perceived lack of cooperation with the White House’s demands on censorship of

“borderline” content: “Internally we have been considering our options on what to do about it.”

       136.    On March 16, 2021, Facebook responded to Slavitt, respectfully explaining its

position but also promising to share information about vaccine hesitancy in “real time”: “We are

absolutely invested in getting you the specific information needed to successfully manage the

vaccine roll out.” Facebook promised to increase information-sharing and proposed a detailed oral

meeting on the topic: “But I understand your point regarding how we communicate, and that we

need to share information with you in a way that prioritizes what we are seeing in as close to real

time as possible.” Facebook also offered to speak to Slavitt by phone at any time.

       The White House Makes Its Demands

       137.    On Friday, March 19, 2021, Facebook had a meeting with White House officials,

including Flaherty and Slavitt.

       138.    Two days later, on Sunday, Facebook sent a follow-up summary of the meeting

which noted that the White House (1) demanded a “Consistent Product Team [Point of Contact]”

at Facebook, (2) demanded “Sharing Additional Data” from Facebook, (3) had asked about

“Levers for Tackling Vaccine Hesitancy Content,” and (4) asked about censorship policies for the

Meta platform WhatsApp.

       139.    In a follow-up email, Facebook noted that, in direct response to White House

demands, it was censoring, removing, and reducing the spread of content that did not violate its

policies: “You also asked us about our levers for reducing virality of vaccine hesitancy content.

In addition to policies previously discussed, these include the additional changes that were

approved late last week and that we’ll be implementing over the coming weeks. As you know, in



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addition to removing vaccine misinformation, we have been focused on reducing the virality of

content discouraging vaccines that does not contain actionable misinformation. This is often-

true content … but it can be framed as sensation, alarmist, or shocking. We’ll remove these

Groups, Pages, and Accounts when they are disproportionately promoting this sensationalized

content.”43 (emphasis added).

            140.     On March 22, 2021, Flaherty responded to Facebook, demanding much more

detailed information and action on “sensationalized” content on its platforms. Flaherty noted that

White House officials were demanding a plan from Facebook to censor non-violative content, i.e.,

“looking out for your game plan on tackling vaccine hesitancy spread on your platform.”

            141.     In this email, Flaherty demanded more information and greater censorship of such

non-violative “sensational” and “skeptical” content: “If you’re down ranking sensational stuff—

great—but I want to know how effective you’ve seen that be from a market research perspective.

And then, what interventions are being taken on ‘skepticism?’ … [W]hat are you trying here, and

again, how effective have you seen it be. And critically, what amount of content is falling into all

of these buckets? Is there wider scale of skepticism than sensationalism? … As I’ve said: this is

not to play gotcha. It is to get a sense of what you are doing to manage this.” (italics in original).

            142.     Facebook then agreed to schedule a meeting that Wednesday at 4:00 pm to discuss

these issues with Flaherty and Slavitt.

            The Accusations Intensify

            143.     In an email on April 9, 2021, Flaherty accused Facebook of being responsible for

the riot at the Capitol on January 6, 2021, by not censoring enough speech online, suggesting that

Facebook would be similarly responsible for COVID-related deaths if it did not engage in more



43
     Id. at 22-23.

                                                    39
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online censorship here: “In the electoral context, you tested and deployed an algorithmic shift that

promoted quality news and information about the election. This was reported in the New York

Times and also readily apparent to anyone with cursory social listening tools. You only did this,

however, after an election that you helped increase skepticism in, and an insurrection which was

plotted, in large part, on your platform. And then you turned it back off. I want some assurances,

based in data, that you are not doing the same thing again here.”44

         144.      Facebook responded: “Understood. I thought we were doing a better job [of]

responding to this—and we are working to get the data that will more clearly show the universe of

the Covid content that’s highest in distribution with a clear picture of what percentage of that

content is vax hesitancy content, and how we are addressing it.”45

         White House Demands Censorship of Prominent Media Figures

         145.      In an email to Facebook on April 14, 2021, Flaherty noted that the White House

was tracking COVID-related content in real time, and he demanded the censorship of currently-

trending posts of content from two prominent Fox News hosts, Tucker Carlson and Tomi Lahren:

“Since we’ve been on the phone—the top post about vaccines today is [T]ucker Carlson saying

they don’t work. Yesterday was Tomi Lehren [sic] saying she won’t take one. This is exactly

why I want to know what ‘Reduction’ actually looks like—if ‘reduction’ means ‘pumping our

most vaccine hesitant audience with [T]ucker Carlson saying it doesn’t work’ then … I’m not sure

it’s reduction!”46




44
   Id. at 27-28.
45
   Id. at 28.
46
   Id.

                                                 40
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          146.   In an email chain to Flaherty and Courtney Rowe that same day, Facebook assured

the White House that it was “running down the question on Tucker and working on getting you

report by end of week.”47

          Amplify the White House’s Speech

          147.   In an email on April 13, 2021, to Flaherty and Rowe, Facebook offered to cooperate

closely with the White House to “amplify” its preferred messages. Flaherty responded the same

day with a series of detailed requests about how Facebook could do so, including: “Some kind of

thing that puts the news in context if folks have seen it (like your current ‘COVID news’ panel)

that has 3-4 pieces of info (e.g.: Adverse events are very rare—6 cases out of nearly 7 million, the

FDA and CDC are reviewing it so health care providers know how to treat any of the rare events,

this does not affect pfzier [sic] or moderna, which vaccinate via a different mechanism)”; “CDC

is working through an FAQ that we’d love to have amplified in whatever way possible—maybe

through the COVID info panel”; and “[a] commitment from you guys to make sure that a favorable

review reaches as many people as the pause, either through hard product interventions or

algorithmic amplification.”48

          Censorship of True, Political, Non-Violative Speech Through a “Spectrum of Levers”

          148.   The same day, April 13, 2021, Facebook responded with a detailed report on

misinformation on its platforms about this issue. Facebook noted that there was an oral meeting

about misinformation with the White House scheduled the next day.49

          149.   Facebook also noted that it had recently had a telephone call with Courtney Rowe

about how it was censoring misinformation, and had agreed to provide a detailed report on its



47
   Id.
48
   Id. at 29.
49
   Id. at 30.

                                                 41
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relevant censorship enforcement policies: “Courtney—as we discussed, we also wanted to send

over some examples of content we see on our platform that we remove (misinformation & harm)

as well as content we take other actions on, but do not remove (vaccine hesitancy). I have included

some examples at the bottom of this email and happy to setup time to talk through this more with

you as well, if helpful.”50

          150.   Facebook then provided a six-page report on censorship with explanations and

screen shots of sample posts of content that it censors and does not censor.51

          151.   Facebook then provided a detailed report to Courtney Rowe’s request for specific

examples of posts that are censored on its platforms. First, as to “VACCINE HESITANCY”

content, Facebook explained that this content does not violate Facebook’s content-moderation

policies, but Facebook assured the White House that Facebook still censors such non-violative

content by suppressing it in news feeds and algorithms. Facebook admitted that such content is

often “true” and sometimes involves core political speech or advocacy (e.g., “discussing choice to

vaccinate in terms of personal and civil liberties”): “The following examples of content are those

that do not violate our Misinformation and Harm policy, but may contribute to vaccine hesitancy

or present a barrier to vaccination. This includes, for example, content that contains sensational

or alarmist vaccine misrepresentation, disparaging others based on the choice to or to not vaccinate,

true but shocking claims or personal anecdotes, or discussing the choice to vaccinate in terms of

personal and civil liberties or concerns related to mistrust in institutions or individuals.”52

          152.   Facebook assured the White House that it censors such true, political, non-violative

content through “a spectrum of levers”: “We utilize a spectrum of levers for this kind of content



50
   Id. at 30.
51
   Id.
52
   Id. at 31.

                                                  42
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… Actions may include reducing the posts’ distribution, not suggesting the posts to users, limiting

their discoverability in Search, and applying Inform Labels and/or reshare friction to the posts.”53

         153.      On April 14, 2021, Andy Slavitt also emailed Facebook’s President of Global

Affairs, former Deputy Prime Minister of the United Kingdom Nick Clegg, with a sarcastic

message expressing the White House’s displeasure both with Facebook’s failure to censor Tucker

Carlson who remained trending: “Number one of Facebook. Sigh. Big reveal call with FB and

WH today. No progress since we spoke. Sigh.”54

         154.      Clegg promptly responded to Slavitt with an apology and promised to immediately

address the censorship of Tucker Carlson.55

         155.      At 10:51 p.m. the same day, Clegg provided Slavitt with a detailed report about the

Tucker Carlson post, explaining that Tucker Carlson’s content did not violate Facebook policies,

but assuring the White House that Facebook would censor it anyway.56

         156.      Clegg denied that Carlson’s content was the top post on Facebook, but then stated,

“Regardless of popularity, the Tucker Carlson video does not qualify for removal under our

policies … That said, the video is being labeled with a pointer to authoritative COVID information,

it's not being recommended to people, and it is being demoted.”57

         157.      Clegg also stated that Facebook was “v[ery] keen” to provide a more detailed report

on its censorship practices in response to White House demands: “I’m v[ery] keen that we follow

up as we’d agreed, and I can assure you the teams here are on it.”




53
   Id. at 32.
54
   Id. at 32-33.
55
   Id. at 33.
56
   Id.
57
   Id.

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            158.     Brian Rice of Facebook then forwarded the same report on the Tucker Carlson post

to Rob Flaherty.

            159.     Less than twenty minutes later, at 11:29 p.m. on April 14, 2021, Flaherty responded

to Rice, demanding greater censorship and accusing Facebook of causing an “insurrection” by not

censoring enough speech on its platforms: “I guess this is a good example of your rules in practice

then—and a chance to dive in on questions as they’re applied. How was this [i.e., Tucker Carlson’s

post] not violative? The second half of the segment is raising conspiracy theories about the

government hiding that all vaccines aren’t effective. It’s not about just J&J. What exactly is the

rule for removal vs demoting? Moreover: you say reduced and demoted. What does that mean?

There’s 40,000 shares on the video. Who is seeing it now? How many? How effective is that?

And we’ve gone a million rounds on this in other contexts so pardon what may seem like deja

vu—but on what basis is ‘visit the covid-19 information center for vaccine resources’ the best

thing to tag to a video that says the vaccine doesn’t work?”58

            160.     On Tuesday, April 21, 2021, Facebook responded to the same email chain,

indicating that there had been a phone call with Flaherty (“thanks for catching up earlier”) and

providing another, more detailed report on its censorship of Tucker Carlson in response to each of

Flaherty’s queries, question-by-question. Facebook again reported that Tucker Carlson’s content

had not violated its policies, stating that “we reviewed this content in detail and it does not violate

those policies,” but reported that Facebook had been censoring it anyway and would continue to

censor it even though no fact-check had reported it false: “The video received 50% demotion for

seven days while in the queue to be fact checked, and will continue to be demoted even though it

was not ultimately fact checked.”59


58
     Id. at 33-34.
59
     Id. at 34.

                                                     44
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         161.        In the same time frame, the White House was exerting similar pressure on other

major social-media platforms, including Twitter and YouTube. On April 21, Rob Flaherty, Andy

Slavitt, and Kelsey Fitzpatrick of the White House, along with an official at HHS, participated in

a meeting with several Twitter officials.60

         162.        The meeting’s subject was “Twitter Vaccine Misinfo Briefing.” The meeting invite

noted: “White House Staff will be briefed by Twitter on vaccine misinfo. Twitter to cover trends

seen generally around vaccine misinformation, the tangible effects seen from recent policy

changes, what interventions are currently being implemented in addition to previous policy

changes, and ways the White House (and our COVID experts) can partner in product work.”61

         Twitter Earns Mercy by Silencing Berenson Before Reaching a “Persuadable Public”

         163.        The next day, Twitter employees noted in internal communications that, during this

meeting, the White House officials had posed “one really tough question about why Alex Berenson

hasn’t been kicked off the platform.”62

         164.        The Twitter employee noted that the White House’s questions were “pointed” but

“mercifully we had answers.” Another internal Twitter communication noted that the White

House “really wanted to know about Alex Berenson. Andy Slavitt suggested they had seen data

viz that had showed he was the epicenter of disinfo that radiated outwards to the persuadable

public.”63

         165.        Twitter permanently deplatformed Berenson.




60
   Id.
61
   Id. at 35-36.
62
   Id. at 212.
63
   Id. at 212-213.

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          YouTube Meetings to Suppress “Borderline” Information

          166.   On April 21, 2021, Flaherty and Andy Slavitt of the White House, and Jessica

Scruggs of HHS had a similar meeting with YouTube, to which at least six YouTube officials were

invited.64

          167.   The calendar invite stated that the purpose of the meeting was: “White House staff

to get briefed by YouTube on general trends seen around vaccine misinformation. As well as, the

empirical effects of YouTube’s efforts to combat misinfo, what interventions YouTube is currently

trying, and ways the White House (and or COVID experts) can partner in product work.”65

          168.   Just after midnight on April 22, 2021, Rob Flaherty emailed a list of Google

officials about YouTube, copying Andy Slavitt and Clarke Humphrey. He began by referring to

the meeting with Google/YouTube officials on April 21: “Thanks again for the conversation

today.” Flaherty also referred to an earlier, “first conversation,” indicating that there had been

more than one meeting with YouTube.66

          169.   Flaherty then noted that the White House had asked YouTube to monitor and report

on the speech on its platforms, stating that the White House expected a report from them.67

          170.   Flaherty then provided a “recap” of their oral conversation, stating that concern

about misinformation on YouTube was “shared at the highest (and I mean highest) levels of the

[White House]”: “To recap: … we remain concerned that Youtube is ‘funneling’ people into

hesitance and intensifying people’s hesitancy … we want to be sure that you have a handle on

vaccine hesitancy generally and are working toward making the problem better. This is a concern




64
   Id. at 36.
65
   Id.
66
   Id.
67
   Id. at 37.

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that is shared at the highest (and I mean highest) levels of the WH, so we’d like to continue a good-

faith dialogue about what is going on under the hood here.”68

           171.   Flaherty indicated that the White House was coordinating with the Stanford Internet

Observatory, which was then operating the Virality Project, discussed in detail below, noting in

the first bullet point: “Stanford has mentioned that it’s recently Vaccine Passports and J&J pause-

related stuff, but I’m not sure if that reflects what you’re seeing.”

           172.   Flaherty also praised YouTube for reducing distribution of “borderline” content

(i.e., often-truthful content that does not violate platform policies but that the White House

disfavors): “I believe you said you reduced watch time by 70% on ‘borderline’ content, which is

impressive.” He then followed up with a long series of demands for more information.69

           173.   Flaherty emphasized that the White House wanted to make sure YouTube’s “work

extends to the broader problem” of people viewing vaccine-hesitant content. And he proposed

regular meetings to push YouTube to disclose its “internal data” to the White House: “We’ve

worked with a number of platform partners to track down similar information based on internal

data, including partners of similar scale. I am feeling a bit like I don’t have a full sense of the

picture here. We speak with other platforms on a semi-regular basis. We’d love to get in this habit

with you. Perhaps bi-weekly? Looking forward to more conversation.”70

           The Vaccine Misinformation Brief

           174.   On April 23, 2021, Flaherty sent Facebook an email that included a document

entitled “Facebook COVID-19 Vaccine Misinformation Brief” prepared by an unidentified third

party.71


68
   Id.
69
   Id. at 38.
70
   Id. at 39.
71
   Id.

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            175.   The “Brief” had two major headings with several bullet points under each:

“Facebook plays a major role in the spread of COVID vaccine misinformation,” and “Facebook’s

policy and enforcement gaps enable misinformation’s spread.” The “Brief” recommended much

more aggressive censorship of Facebook’s platforms, calling for “progressively severe penalties

… and comprehensive enforcement for pages, accounts, and groups that repeatedly post COVID

vaccine misinformation,” and stating that “[b]ans for COVID19 misinformation should be cross-

platform and enforced at the entity-level, not the account level.” It called for Facebook to stop

distributing even non-violative anti-vaccine content “in News Feed or in group recommendations,”

and it stated that “[v]accine misinformation monitoring and enforcement must adjust as

disinformers evade enforcement … .” And it called for specific censorship of disfavored speakers:

“Warning screens before linking to domains known to promote vaccine misinformation would

dissuade users from following links to off-platform misinformation and hurt the vaccine

misinformation business model Facebook enables.”72

            The Greater the Degree of Public Interest, the More Cause to Suppress

            176.   On May 1, 2021, Nick Clegg of Facebook sent an email to Andy Slavitt indicating

that the White House had recently met with Facebook to “share research work” and make more

demands, stating: “Thanks to your team for sharing the research work with us … .” Clegg

apologized to the White House for not catching and censoring three pieces of vaccine content that

went viral, even though the content did not violate Facebook’s policies: “I wanted to send you a

quick note on the three pieces of vaccine content that were seen by a high number of people before

we demoted them. Although they don’t violate our community standards, we should have demoted

them before they went viral and this has exposed gaps in our operational and technical process.”73


72
     Id.
73
     Id. at 40.

                                                  48
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          Better Yet: Suppress the Speech in Real Time Before It Goes Viral

          177.   Clegg promised to be more vigilant in censoring such non-violative content to

prevent it from going viral in the future: “The teams have spent the last 24 hrs analysing these

gaps and are making a number of changes starting next week, including setting up more dedicated

monitoring for Covid vaccine content on the cusp of going viral, applying stronger demotions to a

broader set of content, and setting up daily review and analysis so that we have a better real-time

view of what is being seen by lots of people. I will be checking on this closely to make sure that

these additional steps show results—the stronger demotions in particular should deliver real

impact.”74

          178.   Clegg then listed in bold the demands that the White House had made in its recent

meeting, with a detailed response to each.75

          179.   First, the White House had demanded that Facebook address “Non-English

mis/disinformation circulating without moderation.” Facebook promised to take steps to do so.76

          180.   Second, the White House demanded of Facebook: “Do not distribute or amplify

vaccine hesitancy, and Facebook should end group recommendations for groups with a history of

COVID-19 or vaccine misinformation.” Facebook assured the White House that it was taking

strong steps to censor such content and promised to increase its efforts to do so in the future:

“Much of the research you shared called on us to ensure that our systems don't amplify vaccine

hesitancy content and this is top of mind for us. In addition to the changes I mentioned above, we

have already removed all health groups from our recommendation feature on Facebook, and on

Instagram we filter vaccine-related accounts from our ‘accounts you may follow feature.’ We also



74
   Id.
75
   Id. at 41.
76
   Id.

                                                49
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remove accounts that may discourage vaccination from search features. We currently enforce on

hash tags we know are shared to promote vaccine hesitancy content and are working to improve

our automated systems here.”77

          181.   Third, the White House had demanded that Facebook “Monitor[] events that host

anti-vaccine and COVID disinformation.” Facebook promised to monitor social media “events”

on its platforms more closely and take more aggressive action to censor them.78

          182.   Fourth, the White House had demanded censorship of the so-called

“Disinformation Dozen” in the private meeting with Facebook, raising the concern that “12

accounts are responsible for 73% of vaccine misinformation.”79

          183.   Facebook responded that it was scrutinizing those speakers and censoring them

whenever it could, but that most if their content did not violate Facebook’s policies: “we continue

to review accounts associated with the 12 individuals identified in the CCDH ‘Disinformation

Dozen’ report, but many of those either do not violate our policies or have ceased posting violating

content. Our ‘Dedicated Vaccine Discouraging Entity’ policy is designed to remove groups and

pages that are dedicated to sharing vaccine discouraging content and we continue to review and

enforce on these where we become aware of them.”80

          Facebook Expresses Doubt: Could Too Much Censorship Be Counterproductive?

          184.   Clegg noted that he realized the White House would not be satisfied with these

answers: “I realise that our position on this continues to be a particular concern for you.” Clegg

then suggested that too much censorship might be counterproductive and might drive vaccine

hesitancy: “Among experts we have consulted, there is a general sense that deleting more


77
   Id.
78
   Id.
79
   Id. at 42.
80
   Id.

                                                50
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expressions of vaccine hesitancy might be more counterproductive to the goal of vaccine uptake

because it could prevent hesitant people from talking through their concerns and potentially

reinforce the notion that there’s a cover-up.”81 Brian Rice also forwarded Nick Clegg’s email to

Rob Flaherty.82

        “Not to Sound Like a Broken Record, But Why Aren’t You Censoring More?”

        185.     On May 5, 2021, White House Press Secretary Jen Psaki gave a press conference

where she stated that:

                 The President’s view is that the major platforms have a
                 responsibility related to the health and safety of all Americans to
                 stop amplifying untrustworthy content, disinformation, and
                 misinformation, especially related to Covid19 vaccinations … . He
                 also supports better privacy protections and a robust anti-trust
                 program. So, his view is that there’s more that needs to be done to
                 ensure that this type of misinformation, disinformation, damaging,
                 sometimes life-threatening information, is not going out to the
                 American public (emphasis added).83

        186.     The next day, May 6, 2021, Flaherty emailed Facebook, demanding more

explanations about why it was not censoring more aggressively. Regarding Nick Clegg’s apology

for not catching and censoring three viral posts earlier, Flaherty linked to one and noted: “For one,

it’s still up and seems to have gotten pretty far. And it’s got 365k shares with four comments.

We’ve talked about this in a different context, but how does something like that happen?”84

        187.     Flaherty also demanded more information about Facebook’s efforts to demote

“borderline” content: “Won’t come as a shock to you that we’re particularly interested in your

demotion efforts, which I don’t think we have a good handle on (and, based on the below, it doesn’t



81
   Id.
82
   Id.
83
    Press Briefing by Press Secretary Jen Psaki, THE WHITE HOUSE (May 5, 2021, 1:32 PM EDT), at
https://www.whitehouse.gov/briefing-room/press-briefings/2021/05/05/press-briefing-by-press-secretary-jen-psaki-
and-secretary-of-agriculture-tom-vilsack-may-5-2021/.
84
   Id. at 43.

                                                      51
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seem like you do either). Not to sound like a broken record, but how much content is being

demoted, and how effective are you at mitigating reach, and how quickly?”85

          Suppress Vaccine-Related Speech at All Costs

          188.   Flaherty then criticized Facebook’s censorship efforts for vaccine-related posts in

Facebook groups related to other topics: “Also, health groups: sure. But it seems more likely that

anti-vax stuff is moving in groups that are not about health but are … mom centric, or other spaces.

Strikes me as the issue here is less from single-use anti-vaccine accounts and more about people

who … do other things and are also vaccine hesitant.”

          189.   On May 10, 2021, Facebook sent an email to Flaherty and Courtney Rowe of the

White House digital team, touting its efforts to promote vaccination on its platforms.

          190.   The next day, May 11, 2021, Flaherty responded with a one-line, snarky email

stating: “Hard to take any of this seriously when you’re actively promoting anti-vaccine pages in

search.” He included a link to a news report about this topic on Twitter.86

          191.   The next day, Facebook responded, assuring Flaherty that it had censored the

accounts mentioned in the news reports: “Thanks Rob—both of the accounts featured in the tweet

have been removed from Instagram entirely … . We’re looking into what happened.”87

          192.   Facebook assured Flaherty that it was working on processes to suppress disfavored

speech from search results on its platforms and remove anti-vaccine accounts: “We are continuing

to develop technology to improve the quality of search results at scale across Instagram—this is a

continual process built on new technology to address adversarial accounts … . We also remove

accounts that may discourage vaccination from search by developing and using this new



85
   Id.
86
   Id. at 44.
87
   Id.

                                                 52
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technology to find accounts on Instagram that discourage vaccines, and remove these accounts

from search altogether. We’ve also removed accounts that primarily discourage vaccination from

appearing where we recommend new accounts to follow, such as accounts you may like, and

suggested accounts.”88

         193.      Facebook acknowledged that its censorship efforts were not enough and promised

the White House they would increase them: “We clearly still have work to do to [sic], but wanted

to ensure you were aware of the authoritative resources we’re pointing people to first as we

continue investing in removing accounts from search that may discourage vaccination.”89

         194.      The same day, Flaherty responded by accusing Facebook of not doing enough to

censor anti-vaccine content in search results and dissembling to deceive the White House:

“‘[R]emoving bad information from search’ is one of the easy, low-bar things you guys do to make

people like me think you’re taking action. If you’re not getting that right, it raises even more

questions about the higher bar stuff.” Flaherty continued, accusing Facebook of dishonesty: “You

say in your note that you remove accounts that discourage vaccination from appearing in

recommendations (even though you’re using ‘primarily’ to give yourself wiggle room). You also

said you don’t promote those accounts in search. Not sure what else there is to say.”90

         195.      On May 28, 2021, a senior executive of Meta sent an email to Slavitt and Surgeon

General Murthy reporting that Facebook had expanded its censorship policies. The email stated

that a “key point” was that “We’re expanding penalties for individual Facebook accounts that share

misinformation.”




88
   Id. at 45.
89
   Id.
90
   Id. at 45-46.

                                                  53
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        A Taste of the White House’s Own Medicine

        196.     At some time prior to July 15, 2021, the White House’s Facebook account

experienced an issue that slowed its growth in followers.

        197.     On July 15, 2021, Facebook emailed a White House staffer and reported that “the

technical issues that had been affecting follower growth on @potus have been resolved … . you

should start to see your numbers trend back upwards … . Thanks for your patience as we

investigated this.” The White House staffer asked Facebook, “Could you tell me more about the

technical issues affecting audience growth?”91

        198.     Facebook responded, “from what we understand it was an internal technical issue

that we can’t get into, but it’s now resolved and should not happen again.” The White House

staffer then simply added Rob Flaherty to the email chain without further comment.

        199.     The same minute he was added to the email chain, 3:29 p.m. on July 15, 2021,

Flaherty exploded at Facebook: “Are you guys fucking serious? I want an answer on what

happened here and I want it today.”92

        200.     Facebook explained that the White House’s account had been inadvertently swept

into the net of censorship that it had insisted that Facebook impose on private speakers’ accounts.

        The Surgeon General’s Misinformation Advisory

        201.     That day, July 15, 2021, the Surgeon General released an advisory (the July

Advisory) aimed at censoring purported “misinformation” about COVID-19.93




91
   Id. at 46.
92
   Id. at 47.
93
   See U.S. Surgeon General’s Advisory, Confronting Health Misinformation (July 15, 2021),
https://www.hhs.gov/sites/default/files/surgeon-general-misinformation-advisory.pdf (COVID-19 Advisory).

                                                      54
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        202.    According to the Surgeon General’s advisory, “[m]isinformation” has “caused

confusion and led people to decline COVID-19 vaccines, reject public health measures such as

masking and physical distancing. And use unproven treatments.”94

        203.    The advisory identifies social media platforms as major sources of

“misinformation.”

        204.    That day, Press Secretary Jen Psaki gave a joint briefing along with the Surgeon

General and DHS Secretary Alejandro Mayorkas to discuss the advisory.95

        205.    Murthy acknowledged that:

                health misinformation didn’t start with COVID-19. What’s different
                now though is the speed and scale at which health misinformation is
                spreading. Modern technology companies have enabled
                misinformation to poison our information environment with little
                accountability to their users. They’ve allowed people who
                intentionally    spread      misinformation—what        we     call
                “disinformation”—to have extraordinary reach.96

        206.    In response to a reporter’s question about whether the federal government had taken

action to ensure cooperation of tech companies, Ms. Psaki stated:

                In terms of actions, Alex, that we have taken—or we’re working to
                take, I should say—from the federal government: We’ve increased
                disinformation research and tracking within the Surgeon General’s
                office. We’re flagging problematic posts for Facebook that spread
                disinformation (emphasis added).




94
   Plaintiffs’ Proposed Findings of Fact, supra note 20, at 85.
95
   Press Briefing by Press Secretary Jen Psaki and Surgeon General Dr. Vivek H. Murthy, THE WHITE HOUSE (July
15, 2021, 1:05 PM EDT), https://www.whitehouse.gov/briefing-room/press-briefings/2021/07/15/press-briefing-by-
press-secretary-jen-psaki-and-surgeon-general-dr-vivek-h-murthy-july-15-2021/.
96
   Id. (emphasis added)

                                                     55
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        The President Accuses Social Media Platforms of Killing People

        207.     The next day, July 16, 2021, President Biden stated that Facebook and other social

media platforms were “killing people” by failing to censor enough misinformation.97

        208.     Subsequently, Facebook’s senior executive Nick Clegg reached out to request

“deescalat[ion]” and “work[ing] together.”98

        209.     Nick Clegg emailed Surgeon General Murthy and stated, “Dear Vivek, Reaching

out after what has transpired over the past few days following the publication of the misinformation

advisory and culminating today in the President’s remarks about us.” He then stated, “I know our

teams met today to better understand the scope of what the White House expects of us on

misinformation going forward.”99

        210.     On a follow-up call to the email, Murthy asked Clegg specific questions on

requiring Facebook to share data with outside researchers about the scope and reach of

misinformation on its platforms: “[T]he most specific questions were about understanding the

data around the spread of misinformation and how we were measuring that, and … how we could

have external researchers validate the spread of misinformation and—and helping us as a field

understand the depth of the problem.”100

        211.     One such “external researcher” that the OSG had in mind was Renee DiResta, of

the Stanford Internet Observatory, which hosted a “rollout event” for the advisory featuring Dr.

Murthy on the day that the advisory was announced.101




97
   Zolan Kanno-Youngs & Cecilia Kang, ‘They’re Killing People’: Biden Denounces Social Media for Virus
Disinformation, The New York Times (July 16, 2021), at https://www.nytimes.com/2021/07/16/us/politics/biden-
facebook-social-media-covid.html.
98
   Plaintiffs’ Proposed Findings of Fact, supra note 20, at 92.
99
   Id.
100
    Id. at 67-68.
101
    Id. at 68.

                                                     56
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        212.     On July 16, 2021, a reporter asked Ms. Psaki to elaborate on the Government’s role

in flagging Facebook “disinformation.”102

        213.     Ms. Psaki responded:

                 it shouldn’t come as any surprise that we’re in regular touch with
                 social media platforms—just like we’re in regular touch with all of
                 you and your media outlets—about areas where we have concern,
                 information that might be useful … so we are regularly making sure
                 social media platforms are aware of the latest narratives dangerous
                 to public health that we and many other Americans … are seeing
                 across all of social and traditional media. And we work to engage
                 with them to better understand the enforcement of social media
                 platforms.103

        Slake the White House’s Censorship Thirst—or Face the Consequences

        214.     A reporter stated that “yesterday after the press briefing” Facebook said that it had

removed 18 million pieces of COVID misinformation and asked whether the White House found

that sufficient.104

        215.     Ms. Psaki responded, “[c]learly not, because we’re talking about additional steps

that should be taken.” (emphasis added). She also reiterated that “we are in regular touch with

social media platforms.”105

        216.     On July 17, 2021, another Facebook official emailed Anita Dunn, the political

strategist and Senior Advisor to the President in the White House, begging for assistance in getting

back into the White House’s good graces.106

        217.     The Facebook official wrote: “Would love to connect with you on the President’s

comments on Covid misinfo and our work there. Really could use your advice and counsel on


102
     Press Briefing by Press Secretary Jen Psaki, THE WHITE HOUSE (July 16, 2021, 1:20 PM EDT),
https://www.whitehouse.gov/briefing-room/press-briefings/2021/07/16/press-briefing-by-press-secretary-jen-psaki-
july-16-2021/.
103
    Id.
104
    Id.
105
    Id.
106
    Plaintiffs’ Proposed Findings of Fact, supra note 20, at 54.

                                                      57
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how we get back to a good place here. … As I hope you know, we’ve been doing a significant

amount of work to … fight the misinfo … Obviously, yesterday things were pretty heated, and I’d

love to find a way to get back to pushing together on this—we are 100% on the same team here in

fighting this and I could really use your advice.”

        218.    Facebook then wrote: “We had a conversation with the Surgeon General’s office

yesterday to discuss the advisory in more detail and hope to continue to work to address concerns.”

        219.    On July 18, 2021, having received no response to his email requesting a meeting,

the Facebook official texted Dr. Murthy stating, “I imagine you and your team are feeling a little

aggrieved—as is the FB team, it’s not great to be accused of killing people—but as I said by email

I’m keen to find a way to deescalate and work together collaboratively. I am available to

meet/speak whenever suits.”107

        220.    Four days after President Biden’s comments, USA Today reported that “[t]he White

House is assessing whether social media platforms are legally liable for misinformation spread on

their platforms.”108

        221.    The report noted: “[r]elations are tense between the Biden administration and social

media platforms,” and that the government was “examining how misinformation fits into the

liability protections granted by Section 230 of the Communications Decency Act, which shields

online platforms from being responsible for what is posted by third parties on their sites.”




107
   Id. at 92.
108
    Matthew Brown, “They should be held accountable”: White House reviews platforms’ misinformation liability,
USA           Today        (July        20,         2021,        updated          8:06         PM         ET),
https://www.usatoday.com/story/news/politics/2021/07/20/whitehouse-reviews-section-230-protections-covid-
misinformation/8024210002/.

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         Social Media Platforms Strive to Show that They Are Obeying Orders

         222.     On July 20, 2021, Rob Flaherty emailed YouTube, linking to a Tweet of

“borderline” content and stating, “I’m curious: Saw this tweet. [Linking the Tweet]. I think we

had a pretty extensive back and forth about the degree to which you all are recommending anti-

vaccination content. You were pretty emphatic that you are not. This seems to indicate that you

are. What is going on here?”109

         223.     YouTube responded by assuring Flaherty that it “reduce[s]” the recommendation

of anti-vaccine speech even when it does not violate YouTube’s policies and that its goal was “to

have views of nonsubscribed, recommended borderline content below 0.5%.”

         224.     On July 23, 2021, after meeting with Surgeon General Murthy, Nick Clegg of

Facebook sent a follow-up email stating: “Dear Vivek, if I may, thanks again for taking the time

to meet earlier today … . I wanted to make sure you saw the steps we took just this past week to

adjust policies on what we are removing with respect to misinformation as well as steps taken to

further address the ‘disinfo dozen’….”110

         225.     After the July 23 meeting, that same day, Clegg reported back to Murthy with a

series of new censorship actions and policies, including that Facebook had amended its censorship

policies to make them more restrictive: “We also expanded the group of false claims that we

remove, to keep up with recent trends of misinformation that we are seeing.”111

         226.     Clegg also committed to “do more” to censor misinformation in response to federal

officials’ demands: “We hear your call for us to do more and, as I said on the call, we’re committed

to working toward our shared goal of helping America get on top of this pandemic.”112


109
    Plaintiffs’ Proposed Findings of Fact, supra note 20, at 54-55.
110
    Id. at 93.
111
    Id.
112
    Id. at 94.

                                                          59
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        227.     Clegg further agreed to accede to federal officials’ demands that Facebook make

its internal data on misinformation available to federal officials and researchers like Renee DiResta

of the Virality Project.

        228.     Clegg also pledged to report back to Murthy repeatedly so that federal officials

could monitor Facebook’s “progress” on censoring misinformation: “We’d also like to begin a

regular cadence of meetings with your team so that we can continue to update you on our progress.

You have identified 4 specific recommendations for improvement and we want to make sure to

keep you informed of our work on each.”113

        229.     Clegg concluded by promising that Facebook would “strive” to meet federal

officials’ expectations on censorship: “we will strive to do all we can to meet our shared goals.”

        230.     On a podcast, former White House Covid-19 Advisor Andy Slavitt reminisced

about how, in the summer of 2021, while still working for the Biden Administration, he had warned

Facebook Vice President of Global Affairs Nick Clegg that, “in eight weeks’ time, Facebook will

be the number 1 story of the pandemic.”114 Slavitt also commented on how he had been in contact

with Clegg about which pieces of misinformation to take down.

        Facebook and YouTube Expand Censorship of Vaccine “Misinformation”

        231.     On August 18, 2021, Facebook emailed Rob Flaherty a post entitled, “How We’re

Taking Action Against Vaccine Misinformation Superspreaders.” The post detailed a long list of

censorship actions taken against the “Disinfo Dozen,” including removing over three dozen pages,

groups and accounts linked with them; imposing additional penalties on another two dozen pages,

groups, and accounts linked with them; applying penalties to some of their website domains so



113
    Id.
114
   https://podcasts.apple.com/us/podcast/is-covid-misinformation-killing-people-facebooks-
nick/id1504128553?i=1000529558554.

                                                       60
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that third parties posting their content will be deamplified; and removing the remaining violating

content.

         232.     On August 20, 2021, Nick Clegg emailed Surgeon General Murthy and Eric Waldo

of OSG, detailing Facebook’s additional censorship actions that it had taken as a result of the

Surgeon General’s Health Advisory. Clegg noted that Dr. Murthy had “asked for an update on

existing and new steps that Facebook is taking.”115

         233.     Clegg explained that Facebook was taking new steps in response to the pressure

from the White House and Surgeon General: “In this update, we describe … further policy work

to enable stronger action against persistent distributors of vaccine misinformation.”116

         234.     In a section headed “Limiting Potentially Harmful Misinformation,” Clegg

provided five bullet points and four sub-bullet points detailing expanded efforts of censorship by

Facebook taken in response to the Advisory. These included, among others, “expanding our

COVID policies to further reduce the spread of potentially harmful content”; “increasing the

strength of our demotions for COVID and vaccine-related content that third-party fact-checkers

rate as ‘Partly False’ or ‘Missing Context’”; “making it easier to have Pages/Groups/Accounts

demoted for sharing COVID and vaccine-related misinformation”; and “strengthening our existing

demotion penalties for websites that are repeatedly fact-checked for COVID or vaccine

misinformation content shared on our platform.”117

         235.     On September 29, 2021, Google emailed Eric Waldo to “share an update we

recently made to YouTube’s policies pertaining to vaccine-related misinformation.” Google

reported: “We just announced that we will be introducing a new policy that prohibits content that



115
    Plaintiffs’ Proposed Findings of Fact, supra note 20, at 97
116
    Id.
117
    Id.

                                                          61
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includes harmful misinformation about the safety, efficacy, or ingredients for currently

administered vaccines …” 118

        236.    On October 19, 2021, Rob Flaherty emailed Facebook, copying several White

House officials and Eric Waldo of OSG, and asked Facebook to “connect on what the admin’s

plans are for the 5-11 vaccine rollout” (approval of the vaccine for children in that age group).119

        237.    On October 28, 2021, the same day as a Washington Post article about Facebook

employee Frances Haugen’s allegations about misinformation on Facebook, Rob Flaherty emailed

Brian Rice of Facebook a hyperlink to the article. The only text in the email was the subject line,

which stated: “not even sure what to say at this point.”120

        Take Responsibility and Censor More—Think of the Children

        238.    On October 29, 2021, in response to this article, the Surgeon General tweeted from

his official account (as opposed to his personal account), in a thread:

                We must demand Facebook and the rest of the social media
                ecosystem take responsibility for stopping health misinformation on
                their platforms. The time for excuses and half measures is long past.
                We need transparency and accountability now. The health of our
                country is at stake.121

        239.    On November 4, 2021, Facebook followed up again with OSG and the White House

with additional reports regarding its censorship of misinformation: “Last Friday, we updated our

misinformation policies for COVID-19 vaccines to make clear they apply to claim about children,”

identifying a list of specific claims.122




118
     Id. at 99.
119
    Id.
120
     Id. at 101.
121
      Dr. Vivek Murthy, U.S. Surgeon General (@Surgeon_General), Twitter (October 29, 2021, 4:19PM),
https://twitter.com/Surgeon_General/status/1454181191494606854.
122
     Plaintiffs’ Proposed Findings of Fact, supra note 20, at 103.

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         240.     Facebook made clear that the CDC was serving as the “health expert” who was

dictating what could be said on Facebook’s platforms “in real time”: “We’re grateful to our

partners at the CDC for helping get these debunked in advance of the announcement, and we look

forward to staying connected on emerging COVID misinformation trends.”123

         241.     On November 4, 2021, Meta reported to Rowe, Flaherty, and other White House

officials that “we updated our misinformation policies for COVID-19 vaccines to make clear that

they apply to claims about children….”124

         Parody Has No Place in a Decent, Censored Society

         242.     On November 30, 2021, a White House official emailed Twitter stating, “Would

you mind looking at this video and helping us with next steps to put a label or remove it?”

         243.     He included a link to a Tweet of an unflattering, comedic video of First Lady Jill

Biden reading to children, which had been clearly edited to make it sound as if she was profanely

heckled while reading to them.125

         244.     Twitter responded within six minutes: “Happy to escalate with the team for further

review from here.”126

         245.     That evening, Twitter emailed back, stating, “Update for you—The team was able

to create this event page for more context and details.” The “event page” explained the context of

the parody video but did not censor it; it alerted users that the video had been edited for “comedic”

effect.127




123
    Id.
124
    Id. at 56.
125
    Id.
126
    Id.
127
    See “A video of first lady Jill Biden reading to children was manipulated to include profanity, according to fact-
checkers,” TWITTER (Nov. 30, 2021), https://twitter.com/i/events/1465769009073123330.

                                                          63
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         246.     The White House official promptly emailed back, asking that Twitter actually

censor the comedic video, not just provide an event page explaining that it was comedic: “Will

you apply the ‘Manipulated Media’ disclaimer to the video asset itself?”128

         247.     The next morning, the White House official emailed Twitter again, arguing that

Twitter should apply a label to the video under its content-moderation policies.129

         248.     Twitter responded that same morning, explaining that the parody video of Jill Biden

was not subject to labeling under its policy: “After escalating this to our team, the Tweet and video

referenced will not be labeled under our synthetic and manipulated media policy. Although it has

been significantly altered, the team has not found it to cause harm or impact public safety.”130

         249.     Later that day, the White House official responded, disputing Twitter’s

interpretation of its own content-moderation policy and looping in Michael DeRosa, the First

Lady’s press secretary. DeRosa then emailed Twitter, disputing Twitter’s application of its policy.

         250.     The White House continued to press Twitter for further explanation and action on

December 9, 13, and 17.131

         251.     On December 17, 2021, Twitter provided a more detailed explanation of its

decision. The White House official emailed back the same day, again disputing Twitter’s

application of its own policy and pressing Twitter on the issue.

         252.     He then added Rob Flaherty to the email chain.132

         253.     Nine minutes later, on December 17, Flaherty emailed Twitter, angrily accusing it

of dishonestly misapplying its own policies.133



128
    Plaintiffs’ Proposed Findings of Fact, supra note 20, at 57.
129
    Id.
130
    Id.
131
    Id.
132
    Id. at 58.
133
    Id.

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        254.     A senior-level Twitter executive then emailed Flaherty proposing to resolve the

matter by phone. After that phone conversation, it appears that the Tweet that prompted the

exchange is no longer available.134

        255.     On December 21, 2021, Surgeon General Murthy gave a podcast on the Omicron

variant in which he publicly threatened to hold social media platforms “accountable” for not

censoring misinformation: “number one, we have to track down where this misinformation is

coming from and understand how to hold platforms accountable, new technology platforms that

are driving so much of the misinformation spread … . [B]y allowing this misinformation to

proliferate on their sites, they’re subjecting people in the United States and around the world to

extraordinary harm, and they’re doing so with little accountability at this moment and really with

very little transparency. That can’t be allowed to continue because it’s putting everyone’s health

at risk.”135

        256.     In a January, 2022 interview on MSNBC, Murthy stated that social media

“platforms still have not stepped up to do the right thing[,]” that the focus in stopping the spread

of “misinformation” should be on these companies, and that “this is actually about what

government can do. This is about companies and individuals recognizing that the only way we

get past misinformation is if we are careful about what we say and we use the power that we have

to limit the spread of that misinformation.”136

        257.     In January, 2022, Facebook reported to White House officials Rowe, Flaherty, and

Slavitt that it had “labeled and demoted” “vaccine humor posts whose content could discourage




134
    The link to the tweet, https://twitter.com/ArtValley818_/status/1465442266810486787?s=20, is no longer
available.
135
    Plaintiffs’ Proposed Findings of Fact, supra note 20, at 103-104.
136
    Tom Elliott (@tomselliott), Twitter (Jan. 25, 2022, 10:03 AM), bit.ly/3CGcncD.

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vaccination.” It also reported to the White House that it “labeled and demoted” posts “suggesting

natural immunity to COVID-19 infection is superior to immunity by the COVID-19 vaccine.”137

        258.     On February 14, 2022, Surgeon General Murthy participated in a panel discussion

hosted by the Rockefeller Foundation in which he stated that there is a role for government to set

“safety standards” when it comes to misinformation, “particularly from platforms.”138

        The OSG’s Request for Information

        259.     Less than a month later, on March 3, 2022, the OSG issued a formal Request for

Information (RFI) seeking information from social media platforms and others about

misinformation on social media.139

        260.     According to the New York Times, Murthy “demanded” information about the

major sources of COVID-19 misinformation by May 2, 2022.140

        261.     The RFI webpage created to facilitate this reporting asks for information from

technology platforms about “sources of COVID-19 misinformation” including “specific, public

actors that are providing misinformation, as well as components of specific platforms that are

driving exposure to information.”141

        262.     On information and belief, agencies typically issue RFIs as a first step in the process

of implementing regulations on an industry.




137
    Plaintiffs’ Proposed Findings of Fact, supra note 20, at 58.
138
    Id. at 105.
139
    See Davey Alba, The surgeon general calls on Big Tech to turn over Covid-19 misinformation data, The New York
Times       (Mar.     3,    2022),    at     https://www.nytimes.com/2022/03/03/technology/surgeon-general-covid-
misinformation.html.
140
    Id.
141
    HHS Request for Information on March 7, 2022, at
https://www.federalregister.gov/documents/2022/03/07/2022-04777/impact-of-health-misinformation-in-the-digital-
information-environment-in-the-united-states.

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        The CISA Mis-, Dis-, and Malinformation Police

        263.     On April 12, 2022, CISA announced that it was coordinating directly with social

media platforms to police “Mis, Dis, Malinformation” (MDM). The bulletin reported that CISA’s

“mission evolved” during the Biden Administration to address the new “information

environment.”142

        264.     The bulletin also stated that the “MDM team supports the interagency and private

sector partners’ COVID-19 response efforts via regular reporting and analysis of key pandemic-

related MDM trends.”143

        The White House’s Threats: Censorship or Else

        265.     On April 25, 2022, White House Press Secretary Psaki was asked at a press briefing

to respond to the news that Elon Musk would acquire Twitter.

        266.     Psaki responded with the threat of adverse legal consequences for Twitter and other

social media platforms, specifically referencing antitrust enforcement and Section 230 repeal: “the

President has long been concerned about the power of large social media platforms … [and] has

long argued that tech platforms must be held accountable for the harms they cause. He has been a

strong supporter of fundamental reforms to achieve that goal, including reforms to Section 230,

enacting antitrust reforms, requiring more transparency, and more.”144

        267.     In response to a question about whether Psaki was “concerned about the kind of

purveyors of” “misinformation, disinformation, health falsehoods … having more of an

opportunity to speak there on Twitter,” she stated that the President had “long talked about his




142
    CISA, Mis, Dis, Malinformation, available at https://www/cisa.gov/mdm (last visited May 18, 2022).
143
    Id.
144
    White House, Press Briefing by Press Secretary Jen Psaki (April 25, 2022) available at
https://www.whitehouse.gov/briefing-room/press-briefings/2022/04/25/press-briefing-by-press-secretary-jen-psaki-
april-25-2022/.

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concerns about the power of social media platforms, including Twitter and others, to spread

misinformation, disinformation; the need for these platforms to be held accountable.”145

         268.     She also affirmed that senior officials within the Biden Administration “engage

regularly with all social media platforms about steps that can be taken that has continued, and I’m

sure it will continue. But there are also reforms that we think Congress could take and we would

support taking, including reforming Section 230, enacting antitrust reforms, requiring more

transparency. And the President is encouraged by the bipartisan support for—or engagement in

those efforts.”146

         269.     On June 22, 2022, Facebook emailed Waldo of OSG, Rob Flaherty, and other White

House officials with an update on Facebook’s increased censorship.147

         270.     In the email, Facebook stated that it “[w]anted to ensure that you were aware of our

policy updates following the early childhood vaccine approvals. As of today, all COVID-19

vaccine related misinformation and harm policies on Facebook and Instagram apply to people 6

months or older … .”148

         271.     Facebook indicated that it had again relied on the CDC to dictate what claims

people can post on Facebook: “We expanded these policies in coordination with the CDC and

ensured that we also included false claims that might be connected to children … .”

         272.     At the federal officials’ request, Facebook continued to send to the White House

and OSG bi-weekly “Covid Insights Reports” on COVID-19 related misinformation on its

platforms.149




145
    Id.
146
    Id.
147
    Plaintiffs’ Proposed Findings of Fact, supra note 20, at 110.
148
    Id.
149
    Id.

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           273.   Throughout the spring of 2022, Facebook repeatedly asked the federal officials if

it could discontinue or reduce the frequency of these reports, which it had been sending for over a

year.150

           274.   On June 13, 2022, Facebook notified the White House and OSG that “we will plan

to discontinue these unless we hear from you that this information continues to be valuable.”

           275.   Rob Flaherty responded the same day, asking that Facebook continue to send the

reports and further asking Facebook to report on how it would handle misinformation for early-

childhood (under age 5) vaccines.151

           276.   Facebook continued to send the reports as requested, including two reports on July

17, 2022, and promised to continue sending them.

           277.   In September of 2022, the White House convened the “United We Stand” summit,

at which the President again demanded that Congress reform Section 230 to punish tech companies

for failing to adequately censor.152

III.       THE BIDEN ADMINISTRATION’S “DISINFORMATION GOVERNANCE BOARD” WITHIN
           DHS

           278.   On April 27, 2022, Secretary Mayorkas announced that DHS was creating a

“Disinformation Governance Board” to combat “misinformation” and “disinformation.”

           279.   Documents declassified on June 7, 2022, establish that a whistleblower revealed

that DHS, as of September 13, 2021 (if not earlier), had deemed “disinformation relating to the

origins and effects of Covid-19 vaccines or the efficacy of masks” a “serious homeland security

risk.”153



150
     Id.
151
     Id.
152
     Id. at 11.
153
    https://www.grassley.senate.gov/imo/media/doc/grassley_hawley_to_deptofhomelandsecuritydisinformationgover
nanceboard.pdf

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          280.   Among the declassified documents was a September 13, 2021, DHS memorandum,

which detailed the significant and diverse efforts that DHS intended to take to combat such alleged

misinformation, describing it as the Department’s “mission.”154

          281.   The DHS memorandum expressly and repeatedly acknowledged that, in pursuit of

its efforts to combat Covid-related “misinformation,” the Department ran the risk of violating the

First Amendment.155

          282.   The memorandum emphasized the importance of “work[ing] closely” with “private

sector partners” in order to successfully combat and otherwise prevent dissemination of so-called

Covid-related misinformation.156

          283.   The DHS memorandum also outlined the importance of sharing information, as the

Department had done in the past, with “social media platform operators.”157

          284.   The documents outlining the creation of the DGB expressly acknowledged that the

“component” governmental agencies tasked with combating misinformation, such as DHS, could

“engage private sector services” and otherwise foster partnerships with “private sector entities

[and] tech platforms” to help achieve the DHS mission of combating and suppressing so-called

Covid-related misinformation.158

          285.   The week of May 16, 2022, the Biden Administration announced that Jankowicz

had resigned and that it was suspending operations of the Board, following unexpected public

outcry. However, the Board was not permanently dismantled, but instead “paused” while, in the




154
    Id.
155
    Id.
156
    Id.
157
    Id.
158
    Id.

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meantime, DHS would continue its work “to address disinformation,” according to the Biden

Administration.159

        286.      On August 24, 2022, following the recommendation from the Homeland Security

Advisory Committee (HSAC), Mayorkas rescinded the DGB’s charter.160

        287.      In its press release announcing the DGB’s dissolution following HSAC’s

recommendation, DHS also noted that HSAC had “concluded that countering disinformation that

threatens the homeland, and providing the public with accurate information in response, is critical

to fulfilling the Department’s missions” and that DHS would “continue to address threat streams

that undermine the security of our country.”161

        288.      On May 9, 2023, FOIA-obtained documents were released, revealing the agency’s

formation of a “governance board” to oversee DHS’s “Campaign” against domestic terrorism.162

        289.      Among the released documents is an internal DHS memo dated January 29, 2021

(just nine days after Biden was sworn in as President), which, under the heading “Characterizing

the Threat” and subheading “Pandemic Impacts,” describes how “the most acute terrorist threat

inside the United States” stems from “DVEs” (domestic violent extremists).163 DHS describes

these “violent extremists” as individuals or small groups who “exploit public fears associated with

COVID-19 to incite violence, intimidate targets, and promote their violent extremist

ideologies.”164


159
    Theo Wayt, Mark Lungariello, & Samuel Chamberlain, Biden puts disinfo ‘Mary Poppins’ on ice, scraps Orwellian
DHS Board, THE NEW YORK POST (May 18, 2022), available at https://nypost.com/2022/05/18/biden-admin-pauses-
disinformation-governance-board-report/.
160
    See Following HSAC Recommendation, DHS terminates Disinformation Governance Board, Department of
Homeland Security (Aug. 24, 2022), at https://www.dhs.gov/news/2022/08/24/following-hsac-recommendation-dhs-
terminates-disinformation-governance-board.
161
    Id.
162
    https://aflegal.nyc3.digitaloceanspaces.com/wp-content/uploads/2023/05/09040902/2022-HQFO-00179-
AFL.pdf.
163
    Id.
164
    Id.

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        290.     According to DHS, protests against “government restrictions imposed by the

pandemic” qualifies as “domestic violent extremism.”165 The internal DHS memo also describes

how accusations of government overreach and protests against pandemic-era government

restrictions constitute “attempts to foment violence.”166

        291.     Under the heading “Accurately characterizing domestic terrorism can be

challenging,” the DHS memo explains that the distinction between domestic terrorism and other

criminal behavior “comes down to an individual’s ideology,”167 lamenting that it can be

“exceptionally difficult” to legally make the distinction due to “first amendment protections.”168

        292.     The DHS memo explains, however, that the intelligence community is only “mostly

prohibited” from “reporting on First Amendment protected activities.”169

IV.     THE SIO’S “VIRALITY PROJECT” AND ITS COLLUSION WITH FEDERAL AGENCIES TO
        CENSOR SPEECH

        293.     During the Covid-19 pandemic, the Stanford Internet Observatory launched the

Virality Project as a means of tracking and censoring Covid-related speech on social media

platforms. According to the Virality Project’s report dated April 26, 2022, the VP targeted speech

by “domestic actors” (i.e., American citizens) who “questioned the safety, distribution, and

effectiveness of the vaccines.”170

        294.     According to VP’s report, SIO’s Research Manager Renee DiResta is the VP’s

Executive Editor and contributor.




165
    Id.
166
    Id.
167
    Id.
168
    Id.
169
    Id.
170
    Stanford Internet Observatory, et al., The Virality Project, Memes, Magnets, and Microchips: Narrative
Dynamics Around COVID-19 Vaccines (Apr. 26, 2022), https://purl.stanford.edu/mx395xj8490.

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          295.   From the start, VP was overtly biased against “anti-vaccine” viewpoints: “The

Project’s original framing document articulated the threat: A surge of anti-vaccine

disinformation will pose significant challenges to the rollout and public adoption of COVID-

19 vaccines in the United States.” (bold in original).171

          296.   On information and belief, the VP targets truthful speech for censorship and

successfully induced social-media platforms to censor and suppress COVID-related speech that

was not false and, in many cases, not even violative of platform policies.

          297.   The VP report admits that “it was not always clear what was misinformation; in the

case of the novel coronavirus, it was often simply not yet clear what was true or where scientific

consensus lay,”172 and that “[g]round truth about COVID-19 was rapidly evolving, and even

institutional experts were not always aligned on the facts.”173 Yet this did not stop the VP from

targeting supposed “misinformation” that was admittedly true at the time, or that later turned out

to be true.

          298.   Most speech targeted by the VP was not false: “The most commonly employed

tactics were Hard-to-Verify Content and Alleged Authoritative Source.”174 According to the VP

report, “Hard-to-Verify Content” is content that is “difficult to fact-check or verify, such as

personal anecdotes,” and “Alleged Authoritative Sources” is content that points to “information

from an alleged public health official, doctor, or other authoritative source.”175




171
    Id. at 9.
172
    Id. at 7.
173
    Id. at 8.
174
    Id. at 34.
175
    Id. at 12.

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         299.       According to the VP, truthful “content” that “leveraged decontextualized statistics

from the US Department of Health and Human Services’ Vaccine Adverse Event Reporting

System (VAERS) database” is misinformation.176

         300.       According to VP, it is also misinformation when true adverse health events from

vaccines are “shared absent context,” including “[r]are incidents documenting verified adverse

health events.”177

         301.       The VP report explains that “personal anecdotes” about “vaccine injuries and

severe side effects—ranging from rashes, to blood clots, to death” are also misinformation.178 It

notes that “adverse event stories” are objectionable because they are “employed to push back

against vaccine mandates.”179

         302.       According to VP, connections made possible through social media platforms

“enabled pathways for the spread of vaccine misinformation.”180 Connections such as “connecting

via Facebook Groups, have enabled users to share, view, and discuss first-person experiences of

supposed vaccine side effects.”181 VP explains that “the more organization occurs on social media,

the more strongly people believe vaccines are unsafe.”182

         303.       On information and belief, VP successfully pushes platforms to adopt more

aggressive censorship policies: “While online platforms have made progress in creating and

enforcing vaccine related policies, gaps still exist.”183




176
    Id. at 44.
177
    Id.
178
    Id. at 45.
179
    Id. at 45-46.
180
    Id. at 11.
181
    Id.
182
    Id.
183
    Id. at 3.

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        304.     Emails between Twitter and the Virality Project revealed through public reports

show that VP successfully pushed Twitter to adopt more aggressive censorship practices and

repeatedly flagged content for censorship under Twitter’s policies.

        305.     On March 3, 2021, former CISA intern Jack Cable of VP sent an email to senior

Twitter officials, copying Renée DiResta, advising Twitter that VP was “beginning to ramp up our

notification process to platforms,” and providing “a list of actionable themes of vaccine

misinformation we have recently observed.”

        306.     In this email, Cable indicated that VP would send “weekly briefing[s]” on

misinformation that would be “targeted to the COVID-related policies we’ve identified on each

platform.”

        307.     In an email to Twitter, on information and belief, VP flagged supposed

“misinformation” concerning such topics as “the myocarditis situation, Senator Paul Rand’s [sic]

claims about natural immunity, and serious side effects (including a re-emerging concern about

Guillain-Barre Syndrome).”

        308.     On information and belief, VP flagged to Twitter “True content which might

promote vaccine hesitancy,” including “Viral posts of individuals expressing vaccine hesitancy,

or stories of true vaccine side effects,” and “often true posts which could fuel hesitancy, such as

individual countries banning certain vaccines.”184




184
  See Matt Taibbi, Twitter Files #19: The Great Covid-19 Lie Machine: Stanford, the Virality Project, and the
Censorship of “True Stories”, at https://twitter.com/mtaibbi/status/1636729166631432195.

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         309.   VP admits that six social media platforms “acknowledge[ed] content flagged for

review” by VP “and act[ed] on it in accordance with their policies”—in other words, censored

it.185

         310.   VP extensively monitored social media speech to detect disfavored content and

viewpoints: “To surface in-scope content, VP’s team of analysts were divided into topical

detection teams, referred to as pods …. These pods … enabled analysts to develop and ensure

sustained familiarity with how the COVID-19 vaccine conversation was evolving within particular

communities on public platforms.”186

         311.   VP’s monitoring system tracked content with about 6.7 million engagements on

social media per week, or over 200 million engagements over the seven months: “Average weekly

engagement with content tracked across all Virality Project tickets was 6.7 million.”187

         312.   This monitoring involved VP analysts reading and searching Americans’ social

media accounts in real time: “Analysts in each pod assessed emerging narratives that were within

scope …, surfacing content both via qualitative observation of the pages and accounts, and by

using lists of common terms associated with vaccine hesitancy and long-standing anti-vaccine

rhetoric.”188

         313.   This covert, mass surveillance of Americans’ online speech was extensive,

sophisticated, and adaptive: “At the beginning of the project, analysts used broad search terms

(‘vaccine,’ ‘jab’) to surface relevant content and incidents (specific events or stories), but gradually

began to incorporate a combination of machine learning and hand coding to identify additional



185
    Written Testimony of Renee DiResta Before the U.S. House of Representatives Regarding “A Growing Threat:
Foreign and Domestic Sources of Disinformation,” Stanford Internet Observatory (July 27, 2022), at
https://ecf.lawd.uscourts.gov/doc1/08917303945.
186
    The Virality Project Report, supra note 123 at 15.
187
    Id. at 32.
188
    Id. at 15.

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recurring narratives relevant to the four in-scope categories. This included terms related to medical

freedom under ‘Vaccine Distribution,’ or severe adverse effects and death under ‘Vaccine Safety,’

among others. As narratives and new keywords emerged throughout the analysis period, analysts

continually refined their searches.”189

          314.      VP states that social-media platforms censored content at VP’s instigation:

“Platforms were the final stakeholders in the VP effort. Six social media platforms engaged with

VP tickets—Facebook (including Instagram), Twitter, Google (including YouTube), TikTok,

Medium, and Pinterest—acknowledging content flagged for review and acting on it in accordance

with their policies. On occasion, platforms also provided information on the reach of narratives

previously flagged by VP, which provided a feedback loop leveraged to inform the Project’s

understanding of policies and ongoing research.”190

          315.      The VP report offers a timeline of policy changes becoming more restrictive of

vaccine-related misinformation that shows repeated tightening of policies by Facebook, Twitter,

and YouTube during 2021.191

          316.      The VP report emphasizes the importance of both government officials and social-

media platforms in its collaboration on censorship: “As the effort progressed, input from these

partners,” including government officials and platforms, “was crucial in defining the VP’s output

formats and in surfacing where the impacts of vaccine mis- and disinformation were being felt

offline.”192

          317.      On information and belief, government officials provided “tips” to VP about

misinformation on social media, and VP flagged such content to platforms for censorship.


189
    Id. at 16.
190
    Id. at 8.
191
    Id. at 126, fig. 5.1.
192
    Id.

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        318.     The VP report states that “federal health agencies” were among VP’s stakeholders,

which “provided tips, feedback and requests to assess specific incidents and narratives.”193

        319.     According to VP, “[a]n area that required ingenuity was creating a framework for

facilitating the intake of tips from … government partners …. [T]heir tips are often highly valuable

… .”194 (emphasis in original).

        320.     The VP report states that: “Federal government agencies served as coordinators for

national efforts. The Virality Project built strong ties with several federal government agencies,

most notably the Office of the Surgeon General (OSG) and the CDC, to facilitate bidirectional

situational awareness around emerging narratives.”195

        321.     VP boasts that the “Office of the Surgeon General incorporated VP’s research and

perspectives into its own vaccine misinformation strategy,” and specifically cites the Surgeon

General’s Health Advisory on this point.196

        322.     VP engaged in continuous, ongoing communication with government officials,

platforms, and other stakeholders: “The Virality Project delivered 31 weekly briefings focused on

increasing situational awareness and enabling the stakeholders working on countering vaccine mis-

and disinformation to develop the most effective possible response.”197

        323.     The VP report states that it “provided strategic insights to government entities such

as the OSG, CDC, and the Department of Health and Human Services.”198




193
    Id.
194
    Id. at 141.
195
    Id. at 17.
196
    DiResta Testimony, supra note 138 (citing Off. U.S. Surgeon Gen., Confronting Health Misinformation: The
U.S. Surgeon General’s Advisory on Building a Healthy Information Environment (July 15, 2021),
https://hhs.gov.sites.default.files.surgeon.general-misinformation-advisory.pdf.
197
    The Virality Project Report, supra note 123 at 18.
198
    Id.

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          324.    Further, the “Stanford Internet Observatory and the Virality Project also hosted

Surgeon General Vivek Murthy for a seminar on vaccine mis- and disinformation, including the

rollout of the Surgeon General’s advisory on health misinformation.”199

          325.    VP recommends that the federal government “[i]mplement a Misinformation and

Disinformation Center of Excellence (CoE) housed within the federal government” at CISA “with

its existing mis- and disinformation team.”200 (emphasis added).

          326.    On information and belief, VP’s censorship activities are ongoing and continue

beyond the period described in the VP report.

V.        THE CDC’S PARALLEL CENSORSHIP CAMPAIGN

          327.    On information and belief, social media companies have frequently and directly

coordinated with CDC to monitor and suppress Covid-related speech.

          328.    Working closely with the social media platforms, CDC flags supposed

“misinformation” for censorship on the platforms (sometimes using the acronym “BOLO” for “Be

on the Lookout”) and dictates what health statements will be censored on social media.

          329.    During 2021, Carol Crawford, CDC’s Division Director of Digital Media,

organized and ran “BOLO” meetings on Covid “misinformation” with representatives of social

media platforms—including Twitter, Facebook, Instagram, and Google/YouTube—in which she

and other federal officials colluded with those platforms about speech to monitor and target for

suppression.201




199
    Id. at 20.
200
    Id. at 143.
201
    Id. at 139.

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          330.   These meetings included Crawford and other CDC officials who would flag

specific social media posts for censorship or topics and provide examples of the types of posts to

censor.

          Facebook Censors “Misinformation” upon CDC’s Command

          331.   Facebook’s “COVID and Vaccine Policy” states that Facebook “does not allow

false claims about the vaccines or vaccination programs which public health experts have advised

us could lead to COVID-19 vaccine rejection.”202

          332.   CDC officials are included among those “public health experts” who “advise[]”

Facebook on what to censor.

          333.   For example, on November 4, 2021, in an email from Facebook to the OSG and the

White House concerning the censorship of Covid-related “misinformation,” Facebook made clear

that CDC was serving as the “health expert” who was dictating what could be said on Facebook’s

platforms “in real time”: “We’re grateful to our partners at the CDC for helping get these debunked

in advance of the announcement, and we look forward to staying connected on emerging COVID

misinformation trends.”203

          334.   On June 22, 2022, in an email from Facebook to the OSG, Rob Flaherty, and other

White House officials, Facebook reported that it had updated the platform’s censorship policy on

“all COVID-19 vaccine related misinformation.”204 According to Facebook, it had again relied on

CDC to dictate what claims users could post on the platform: “We expanded these policies in




202
    Facebook, COVID-19 and Vaccine Policy Updates & Protections, https://www.facebook.com/help/23076
4881494641 (emphasis added).
203
    Plaintiffs’ Proposed Findings of Fact, supra note 20, at 103.
204
    Id. at 110.

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coordination with the CDC and ensured that we also included false claims that might be connected

to children….”205

         335.        Facebook censors Covid-related information as “false,” not based on actual truth or

falsity, but based on whether the statement questions or challenges CDC pronouncements.

         336.        On March 25, 2021, Crawford and other CDC officials met with Facebook to

discuss Facebook’s policies and approaches to Covid-related “misinformation.”206

         337.        CDC chose the “Misinformation Topics” to be discussed, which included:

“misinformation about side effects,” and “claims about vaccines leading to deaths.”207

         338.        For each topic, the slides provided sample posts from Facebook users as examples

of the type of claim, along with a statement from CDC debunking the supposedly erroneous

claim.208 This included debunking any claims that the Covid vaccines had side effects.209

         339.        On March 30, 2021, Crawford inquired of Facebook what its “approach” was to

censoring local news stories about vaccine-related deaths: “One of the main themes we’re seeing

and from the CrowdTangle report is local news coverage of deaths after receiving the vaccine.

What’s the approach for adding labels to those stories?”210

         340.        On April 13, 2021, Facebook emailed Crawford and proposed to enroll CDC

officials in a special misinformation reporting channel that would allow CDC to log onto Facebook

as an administrator and flag problematic speech in a more expedited manner.211

         341.        On November 2, 2021, Facebook’s content-moderation official emailed Crawford

and other CDC officials stating that, “as a result of our work together” with the CDC, Facebook


205
    Id.
206
    Id. at 117.
207
    Id.
208
    Id.
209
    Id.
210
    Id. at 121.
211
    Id. at 121-22.

                                                     81
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had updated its content-moderation policies to increase censorship of vaccine-related claims in

significant ways.212

          342.    According to the Facebook official, the platform had “launched a new feature on

Instagram, where accounts that repeatedly post content that violates our policies on COVID-19 or

vaccine misinformation may now lose the ability to be tagged or mentioned or may see pop-ups

asking if they’d like to delete certain posts that may violate our policies.”213

          343.    On February 3, 2022, Facebook’s content-moderation official emailed Crawford to

share the following additional updates that Facebook had made to its misinformation policies “as

a result of our work together”: (1) the removal of claims that Covid vaccines cause heart attacks;

and (2) the reduction of the distribution of content that “likely violates our COVID-19 and vaccine

misinformation policies, but has not yet been reviewed by a human.” 214

          Google/YouTube

          344.    On March 23, 2021, Crawford sent a calendar invite for a meeting with six

Google/YouTube officials, along with other CDC and Census employees. The invite stated:

“CDC/Census to meet with Google regarding our misinformation efforts.”215

          345.    At this time, CDC had recently executed an Interagency Agreement with the Census

Bureau to assist CDC in addressing misinformation, pursuant to which, Census provided CDC

with reports on “key themes” of misinformation seen on social media.216

          346.    At the meeting, CDC and Census presented a slide deck similar to the one for the

meeting with Facebook on March 25, 2021, discussed above. The slide deck was entitled,




212
    Id.
213
    Id. at 131.
214
    Id.
215
    Id. at 136.
216
    Id. at 119.

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“COVID Vaccine Misinformation: Issue Overview.” The deck’s “Misinformation Topics”

included “infertility, misinformation about side effects, and claims of vaccines leading to

deaths.”217

          347.    For each topic, the slide deck included a description of a common claim, specific

examples of videos on YouTube and social-media postings making the disfavored claim, and a

putative refutation by the CDC.218

          348.    Regarding supposed misinformation about vaccine side effects, the deck stated:

“speculation and misinformation about side effects after taking the COVID vaccine have been

prevalent on social media since the first vaccines were approved,” and it provided screen shots of

an example video on YouTube and social-media posts making such claims, along with a putative

refutation by the CDC.219

          349.    Regarding the topic “Death from Vaccines,” the slide deck stated that “[v]accine-

hesitant groups spreading misinformation and conspiracy theories about alleged vaccine-related

deaths erode trust in the COVID-19 vaccine and the public health system,” and it provided a

sample video on YouTube and social-media posts linking the vaccines to deaths, along with a

putative refutation by the CDC: “According to CDC, VAERS has not detected patterns in cause

of death that would indicate a safety problem with COVID-19 vaccines.”220

          350.    According to Crawford, she still attends a regular biweekly meeting with Google,

which continues to the present day.221

          351.    Crawford also has “similar regular meetings with … Meta and Twitter.”222



217
    Id.
218
    Id.
219
    Id.
220
    Id. at 137.
221
    Id. at 138.
222
    Id.

                                                 83
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        Twitter

        352.      On April 8, 2021, Twitter emailed Crawford to request examples of misinformation

from CDC: “All examples of misinformation are helpful … .” The subject line of this email was

“Request for problem accounts.”223

        353.      Twitter’s email was in response to Crawford’s prior inquiry, “Is there a good way

that we should start engaging on misinformation?”224

        354.      On May 10, 2021, Twitter offered to enroll CDC officials in the platform’s “Partner

Support Portal”—a privileged channel that would allow for expedited review of content CDC

flagged for censorship.225

        CrowdTangle and Other Social Media “Listening” Reports

        355.      According to Crawford’s sworn deposition testimony in the case Missouri v. Biden,

CDC collaborated with Facebook to flag Covid-related speech for censorship using

“CrowdTangle,” which she describes as “a social media listening tool for Meta properties,”

meaning Instagram and Facebook.226

        356.      Crawford confirmed that the CDC had privileged access to CrowdTangle starting

in early 2020, and CDC officials used the non-public “social media listening tool” to monitor and

track private speech about COVID-19 on social media.227

        357.      According to Facebook, “state health departments” were granted access to

CrowdTangle to address “vaccine misinformation.”228 Using CrowdTangle, when government



223
    Id. at 143.
224
    Id.
225
    Id. at 145.
226
    Id. at 114.
227
    Id. at 114.
228
    Facebook, Connecting People in the US With State COVID-19 Vaccine Information (April 12, 2021), at
https://about.fb.com/news/2021/04/state-covid-19-vaccine-information/.

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health officials “flag potential vaccine misinformation on Facebook and Instagram, [Facebook]

review[s] and remove[s] the content if it violates our policies.”229

         358.     The CrowdTangle reports survey content that is not publicly available, such as

“personal Group posts.”230

         359.     CDC has also used other social media “listening tools” to monitor Americans’

speech on social media, including “Meltwater reports,” which are similar to CrowdTangle but can

monitor all platforms.231

         360.     On January 25, 2021, Facebook emailed Crawford the first of an ongoing, biweekly

series of CrowdTangle reports, which report on “top engaged COVID and vaccine-related content

overall across Pages and Groups.” The email emphasized in bold certain content in the report,

including “Posts about alleged vaccine-related deaths” and “News and reports of severe vaccine

side effects.”232

         361.     Facebook indicated that it was sending this report in response to a prior

conversation with Crawford: “I am following up on our conversation several weeks ago about

providing more detailed reporting from our CrowdTangle team.”

         362.     Crawford responded that “the wide group of those looking at misinfo will want

this.”233

VI.      “THE PLAINTIFFS AND THE CENSORSHIP OF THEIR SOCIAL MEDIA ACCOUNTS

         363.     All six Plaintiffs are social media users and have maintained accounts on several

platforms, including, but not limited to, Facebook, YouTube, Twitter, Instagram, and TikTok.




229
    Id.
230
    Plaintiffs’ Proposed Findings of Fact, supra note 20, at 115.
231
    Id.
232
    Id.
233
    Id.

                                                          85
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        364.   Except for Mr. Ramirez, each of the Plaintiffs experienced serious and debilitating

medical injuries within weeks (if not, in some cases, days) after taking a dose of the Covid-19

vaccine.

        365.   Except for Mr. Ramirez, each of the Plaintiffs continues to experience serious and

debilitating medical injuries.

        366.   Mr. Ramirez’s 16-year-old son Ernest Ramirez, Jr. died five days after taking his

first dose of the Pfizer Covid vaccine.

        367.   While the content that each creates is unique, all six Plaintiffs have regularly used

their social media accounts to: (1) share their personal experiences during the pandemic, including

their experiences after they, or a loved one, took the vaccine; (2) read about other users’

experiences after taking the vaccine; (3) engage with other users in private support groups for

individuals (and their loved ones) who experienced medical harm after taking the vaccine; and (4)

exchange advice, support, and medical research with other users with respect to their vaccine

injuries.

               a. Brianne Dressen

        368.   On November 4, 2020, Ms. Dressen received her first dose of the AstraZeneca

Covid vaccine as part of a voluntary clinical trial.

        369.   Within an hour of receiving that dose, she experienced tingling down her arm and

later that night had blurry and double vision, as well as distorted hearing.

        370.   The following morning, Ms. Dressen’s left leg was slumped and weak, causing her

to walk with a modified gate. In addition, she experienced extreme sensitivities to light and sound.

        371.   Within two weeks of receiving the vaccine, Ms. Dressen suffered from autonomic

dysfunction, gastrointestinal problems, irregular heart rate, painful paresthesia, heart and blood



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pressure fluctuations, brain fog, and severe limb weakness and loss of bladder control. Her

symptoms became so severe that she was forced to isolate in her bedroom in darkness and silence

for months, only to come out for rehabilitation to address her sensory deficits and her struggle to

walk.

        372.   On June 16, 2021, Ms. Dressen visited the United States National Institutes of

Health (NIH) as part of its “Investigation of persistent neurological symptoms following SARS-

CoV2 vaccine.” NIH confirmed that she had suffered Covid vaccine-induced medical conditions

and diagnosed her with “postural orthostatic tachycardia syndrome (POTS)” and “post-vaccine

neuropathy,” as well as short-term memory loss.

        373.   Today, over two years later, Ms. Dressen has been diagnosed with chronic

inflammatory demyelinating neuropathy (CIDP), a permanent and debilitating condition. She

remains unable to work and, at times, relies on a wheelchair due to her chronic neuropathic

condition. Her severe reaction devastated both her own life and that of her young family. At

times, she believed that she could no longer go on living.

        374.   In April 2021, however, Ms. Dressen discovered through social media that others

around the world were experiencing similar medical reactions after taking the Covid vaccine.

After making these connections, she helped launch support groups on social media platforms,

primarily on Facebook, consisting of individuals across the globe sharing similar vaccine-related

experiences. Through the social media groups, Ms. Dressen’s mental state began to improve,

along with some of her physical ailments, as she was able to connect and share with others during

a time at which she was too ill to venture outside of her home.

        375.   The focus of the support groups was to share physical symptoms and conditions,

offer emotional support, and discuss potential treatments. Only individuals who had been injured



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by the Covid vaccine were permitted to join, and a rigorous vetting process was conducted before

any member was admitted.

       376.    In May 2021, Ms. Dressen became the administrator of one of the Facebook groups

that had been providing her with critical support.

       377.    On June 28, 2021, Ms. Dressen spoke publicly for the first time about her

experience. She participated in a mainstream media press conference in Milwaukee, Wisconsin,

facilitated by Senator Ron Johnson, along with other vaccine-injured individuals, during which

they shared their experiences.

       378.    Within twenty-four hours of the press conference, the Facebook group of which

Ms. Dressen served as administrator was shut down, and member lists were eliminated entirely

under the accusation that the group was spreading “misinformation,” though the group was private

and limited to discussions of members’ personal experiences. Facebook notified Ms. Dressen that

the group had been disabled for having “content that goes against [Facebook’s] Community

Standards.”

       379.    A few days later, another of Ms. Dressen’s Facebook groups, “A Wee Sprinkle of

Hope,” was shut down for posting an infographic that listed certain symptoms that people had

experienced post-Covid vaccine, including brain fog, memory loss, fatigue, tinnitus, and

paresthesia. The infographic also included a link to the press conference at which she had recently

spoken about her vaccine injuries. As a result of Facebook’s shutdown of the group, Ms. Dressen

lost contact with nearly two thousand other vaccine-injured individuals who had been members of

the group.

       380.    It was around this time that Ms. Dressen became aware that she and other advocates

for the vaccine-injured were being shadow banned on Facebook and other social media platforms,



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meaning that her posts were no longer visible to other users. After several of Ms. Dressen’s posts

in her private vaccine-injured support groups were removed, Facebook notified her that: “Multiple

violations for false information will cause your group’s posts to be moved lower in the News

Feed.”

         381.   Around this time, Facebook also began to flag many of the posts in the support

groups as “Partly false” or as “Missing Context,” and sometimes Facebook would remove the posts

entirely for going against Facebook’s rules or “Community Standards.”

         382.   In July 2021, Ms. Dressen’s activities were detailed in a report created by the

Virality Project, a non-profit entity launched by SIO that was tasked primarily with combatting

Covid-19 “misinformation.” Under the heading “Ongoing Themes and Tactics,” the report

expresses skepticism of Ms. Dressen’s “claims [of] life-altering injuries” and concludes that: “An

injury story that does not have a proven causal link to the vaccine nevertheless garnered high

spread because it was picked up by a major anti-vaccine activist and by conservative politicians

engaged in prior anti-vaccine activities.” (emphasis included)

         383.   In July 2021, Ms. Dressen and several other group administrators launched a new

support group on Facebook, “Covid Vaccine—Long Haul Support Group,” in the hope of

reconnecting with members who had been lost after Facebook shut down the support group called

“A Wee Sprinkle of Hope.”

         384.   Fearful of being disabled again, Ms. Dressen and her fellow group administrators

had to develop a code for members to describe their experiences. Words such as “vaccine,” “side

effect,” “symptoms,” “Pfizer,” and “Moderna” could not be used, as they often triggered (and

continue to trigger) Facebook to remove the post or shut down the group entirely. Facebook

deemed such posts “misinformation that could cause physical harm.”



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        385.    Facebook also claimed that certain of her posts containing words or topics relating

to the Covid vaccine or its side effects violated Facebook’s “standards on violence and incitement”

and notified Ms. Dressen that the platform doesn’t “allow content that leads to a genuine risk of

physical harm or a direct threat to public safety.” Facebook provided the following examples of

such content: “Language that leads to serious violence,” “Threats that could lead to death, violence

or serious injury,” and “Instructions on how to make or use weapons, if the goal is to seriously

injure or kill people.”

        386.    On November 29, 2021, a group member posted that she had recently developed a

mitral heart valve leak and mitral valve prolapse. The post asked the group: “Anyone else get this

from the v? Will it kill me? They said I don’t need treatment? Why not?” Facebook removed

the post for violating “Community Standards on misinformation about vaccines.”

        387.    Currently, Ms. Dressen and other group administrators must continuously create

new code words to avoid censorship of their posts as Facebook’s search algorithms regularly adapt.

        388.    Despite Ms. Dressen’s efforts, numerous posts in the support groups have been, and

continue to be, removed by Facebook, including posts with links to medical articles describing

vaccine side effects and possible treatments. Even posts that Facebook does not remove are often

flagged as potential misinformation or labeled with a warning box directing viewers to visit CDC’s

website for “reliable, up-to-date information.” This includes Ms. Dressen’s attempts to post links

to news articles or podcasts, including features in Science and Newsweek, in which she shared her

personal experience after taking the vaccine.

        389.    As a result, Ms. Dressen’s ability to assemble medical information, read about

others’ vaccine experiences and symptoms, share personal experiences, and both share and receive

support within the vaccine-injured community has been drastically curtailed.



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       390.    Ms. Dressen has also experienced censorship and content removal on other social

media platforms, including YouTube, TikTok, Vimeo, and Instagram.

       391.    In September 2021, Ms. Dressen participated in and distributed an awareness video,

titled “We Want to Be Heard,” with other individuals who had suffered side effects from the Covid

vaccine. TikTok took down the video, notifying Ms. Dressen that it had been removed for

“dangerous acts.”

       392.    Similarly, YouTube removed a video that Ms. Dressen had posted called “See Us.

Hear Us. Believe Us.” for “violating YouTube’s Community Guidelines.”

       393.    In October 2021, Ms. Dressen’s husband, a biochemist, testified before the Food

and Drug Administration (FDA) regarding her NIH-confirmed vaccine injuries. His testimony

was covered by several members of the mainstream media, and Ms. Dressen’s experience quickly

went viral. Initially, the story trended on Google with over 87 news stories featuring his testimony.

       394.    When Ms. Dressen ran a search of the identical terms on Google four hours later,

she discovered that only five stories appeared in the search results. Although the stories remained

on the news sites where they were published, Google prevented the story from trending by

removing them from visibility on the Google search engine.

       395.    In December 2021, a support group on Facebook on which Ms. Dressen served as

an administrator, with over 12,000 members, including vaccine-injured individuals and supporting

friends and family, was shut down after a group member posted a link to a news story featuring

Ms. Dressen’s experience after taking the vaccine, as well as a link to the government of

Australia’s website discussing adverse vaccine reactions. According to Facebook, the post

violated its “Community Standards on misinformation about vaccines.”




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       396.    In November 2021, Ms. Dressen co-founded a non-profit organization called

React19 to support the vaccine-injured community. She, along with React19’s other board

members, serve as group page administrators on multiple social media platforms and have each

experienced censorship similar to that which is described above. This censorship has not only

limited group members’ access to medical information and support, but it has also dramatically

limited React19’s ability as a non-profit organization to fundraise.

       397.    In January 2022, in her role as co-founder of React19, Ms. Dressen helped produce

and circulate on multiple social media platforms a vaccine injury awareness video called “Silence,”

documenting only the personal experiences of those who experienced medical injuries after taking

the vaccine. The video was removed from both Vimeo and YouTube.

       398.    YouTube notified Ms. Dressen that the video was removed for violating YouTube’s

“medical misinformation policy.”

       399.    Vimeo notified Ms. Dressen that the video violated its Guidelines because it made

“false or misleading claims about (1) vaccination safety, or (2) health-related information that has

a serious potential to cause public harm.” Ms. Dressen appealed the removal. Vimeo responded

by permanently deleting React19’s account from the platform. Vimeo provided the explanation

that the “claims of injury are not substantiated by the US Centers for Disease Control.”

       400.    In June 2022, React19 launched a new awareness campaign called “Can we talk

about it?” which requested that participants post on social media a photo of their arm and share

what symptoms they had experienced after taking the vaccine.

       401.    After posting about the awareness campaign on Instagram, Ms. Dressen was

notified that her post had been removed for “harmful false information.” Ms. Dressen’s post stated

the following: “It’s time to break the silence about v-injuries and deaths. Mark your calendars



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and join us on June 14th at 2 p.m. EST for the launch of the #CanWeTalkAboutIt worldwide

campaign, which aims to: Create a safe space for C19 v-injured to share their stories. Create

awareness among the general public that C19 v-injuries are real. Raise funds to support global

organizations and initiatives working on projects related to research, health solutions, and lawful

processes leading to compensations.”

       402.    After Ms. Dressen posted about the awareness campaign on Facebook, her account

received a warning for posting “misinformation that could cause physical harm.” Facebook also

claimed that the post “may show graphic content” and that her account might be restricted if she

were to violate again. Ms. Dressen’s post stated the following: “Join us in solidarity Tuesday

June 14th! Take a photo with your sleeve rolled up if inj. or take a photo of your hand over your

heart.” The post also included an infographic with event details and a link to the campaign website.

       403.    In September 2022, React19 posted a story on Twitter focused on hope and the

healing process of a vaccine-injured member of the non-profit organization. The post discussed

her symptoms and progress toward recovery and was tagged #WednesdayWins. Twitter removed

the post and locked React19’s account. Twitter notified React19 that the account could only be

unlocked if the account administrator clicked a checkbox admitting that the post was harmful and

in violation of Twitter’s rules. Once Ms. Dressen clicked the checkbox, the account was restored.

She appealed the post’s removal but, to date, has received no response.

       404.    In March 2023, React19 posted a link to an article on Facebook regarding a

scientist’s findings on Covid vaccine injuries. In addition to the article link, the post stated:

“Science has been slow to study vaccine injuries, but one British Columbia researcher has led the

charge to determine the incidence of Guillain-Barré syndrome, VITT, TTS, and

myocarditis/pericarditis strongly associated with COVID-19 vaccination.” Facebook removed the



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post, describing it as “misinformation that could cause physical harm.” Facebook then froze

React19’s account for 24 hours and suspended for one month the private Facebook account of

React19’s social media manager who is also vaccine-injured. His private account had not been

used for months but was nevertheless suspended for content posted by React19’s official account.

       405.   On May 4, 2023, YouTube notified Ms. Dressen that React19’s account has been

suspended for posting inappropriate video content.

       406.   Due to the ongoing threat of censorship and penalties for posting on social media,

Ms. Dressen and her fellow support group members often hesitate to share their personal stories

on social media platforms or reach out for support from those with common experiences. Ms.

Dressen has been limited in her ability to communicate and connect with those whom she perceives

to be most in need of connection and support.

       407.   In her role as social media group administrator for React19, as well as for three

private support groups on Facebook, she has been compelled to dedicate more time determining

how group members can communicate with one another without being censored than supporting

the group members through the trauma of their injuries, which has always been her primary

objective.

       408.   Ms. Dressen currently serves in her personal capacity as administrator of three

private Facebook groups with a combined membership of approximately 19,400 people.

       409.   In her capacity as administrator for React19, she manages its accounts on Facebook,

Twitter, YouTube, Odysee, and Instagram, with a combined following of over 48,000 people.

       410.   Ms. Dressen is also a member and contributor of other support groups on social

media platforms that, in total, include approximately 22,500 members of the vaccine-injured

community.



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               b. Shaun Barcavage

       411.    On December 29, 2020, Mr. Barcavage received his first dose of the Pfizer vaccine.

Before that time, he had been in good health with no medical concerns, spending his free time

traveling the world and walking in the park with his partner and two dogs.

       412.    Within hours of receiving the vaccine, he developed paresthesia (numbness,

tingling, warm and cold sensations) along his injected right arm, which radiated into his upper

back and armpit area.

       413.    Mr. Barcavage’s symptoms progressively worsened over the following days to

include tingling on the right side of his face, stinging in his right eye, and a burning sensation on

one ear.

       414.    On January 4, 2021, he attended a primary care visit, after which his physician

referred him to the neurology department.

       415.    On January 11, 2021, Mr. Barcavage met with a neurologist at Weill Cornell

Medicine who conducted an electromyography (EMG) test on his right arm and ran some general

blood work tests. He recommended that Mr. Barcavage proceed with the second dose of the Pfizer

vaccine. Despite his misgivings, and under pressure from impending vaccine mandates, Mr.

Barcavage proceeded with the second dose of the Pfizer vaccine on January 19, 2021.

       416.    During the first three days, Mr. Barcavage experienced pain where he had been

injected that radiated to his left neck and back. By the fourth day, he awoke with ringing in the

right ear (tinnitus), and the paresthesia in his right side had returned. He also developed a prickling

sensation in his throat. Over the course of the next few days, the paresthesia in his right side

escalated with more intensity. He consulted his neurologist about these symptoms and was

instructed to simply “wait it out.”



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       417.    By January 30, 2021, Mr. Barcavage developed inappropriate sinus tachycardia,

wildly fluctuating blood pressure, a severe headache on the right side, acute abdominal pain,

worsening tinnitus, stinging sensations, muscle fasciculations and internal vibrations in his legs.

       418.    On January 30, 2021, he sought emergency care in Pennsylvania where he received

a CT scan, which showed that he had an inflamed mesentery. The attending physician dismissed

the possibility that Mr. Barcavage’s symptoms were vaccine-related and sent him home with

ibuprofen.

       419.    As a medical professional, Mr. Barcavage felt certain that something was seriously

wrong and consulted numerous doctors for help and answers. However, none knew how to help,

and some admitted to him that “this was all new” and that what was happening with the vaccine

during the pandemic was still poorly understood.

       420.    By March 2021, Mr. Barcavage’s symptoms had worsened, with the onset of

autonomic dysfunction (positional tachycardia and severe insomnia), cardiac arrhythmias, and

generalized, whole-body neuropathies that involved the mouth, throat, and eyes.

       421.    Since the adverse reaction to the vaccine, Mr. Barcavage has also been diagnosed

with positional tachycardia, and a skin biopsy has indicated small fiber neuropathy. His symptoms

have continued to worsen and, most recently, he has developed chronic pain in both ears,

worsening tinnitus, and sudden fluctuations in hearing.

       422.    After receiving no answers about his symptoms from his doctors, Mr. Barcavage

turned to the internet to search for others who might be experiencing similar reactions to the

vaccine.

       423.    In March 2021, Mr. Barcavage began posting on his Instagram account to share his

experience with the vaccine and to raise awareness of the issue. Instagram labeled the majority of



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his posts with a message directing viewers to the CDC website “to obtain factual information about

Covid.” To Mr. Barcavage, this labeling suggested that his injuries qualified as misinformation,

adding to his sense of alienation as he struggled to find support and connect with others who might

be struggling with similar conditions.

       424.    In March 2021, Mr. Barcavage established one of the first online support groups on

Facebook for those suffering tinnitus post-vaccination. Only individuals who had been injured by

the Covid vaccine were permitted to join, and a vetting process was conducted before any member

was admitted. Within months of creating the group, the group had over 3,500 members.

       425.    His private support group was frequently the target of censorship by Facebook. The

group often received warning messages for posts that Facebook claimed violated its “Community

Standards.” Group member posts were also often labeled as “misinformation” or with a message

that redirected viewers to “more accurate information” on the CDC website.

       426.    As an administrator of the support group, Mr. Barcavage struggled to find ways to

enable members to communicate without the group being shut down. He had to develop code

words with the other members, such as “vee” for vaccines, to prevent posts, including links to

news articles and medical journals, from being flagged as misinformation or removed entirely.

       427.    In November 2021, Mr. Barcavage shared testimony about his vaccine injuries

before the U.S. Senate. When his family and fellow vaccine-injured individuals attempted to share

his testimony on Facebook, the posts were removed as “misinformation.”

       428.    On December 15, 2021, Facebook disabled Mr. Barcavage’s support group,

claiming that the group had “content that goes against Facebook’s Community Standards.” Mr.

Barcavage appealed Facebook’s decision, and, without any further communication from

Facebook, the group was restored on January 4, 2022.



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       429.    Mr. Barcavage must still self-censor or speak in code when posting on social media

platforms to avoid warnings, removals, or account suspensions, and both he and members of his

support groups have been limited in their ability to share their experiences, read about others’

experiences and symptoms, seek advice, find answers, and support one another.

       430.    Mr. Barcavage has been conducting research into the adverse effects of the Covid

vaccine with the hope of spreading awareness and providing the vaccine-injured with further

support and knowledge about their injuries. His efforts to communicate freely, however, have

been largely undercut by the suppression of his posts on social media platforms, as well as the

negative, “anti-vaxxer” stigma that has accompanied the labels of “misinformation” on his posts.

               c. Kristi Dobbs

       431.    On January 18, 2021, Ms. Dobbs received her first dose of the Pfizer vaccine at her

local hospital’s vaccine clinic.

       432.    Within five minutes of receiving the injection, as she waited in line to schedule her

appointment for the second dose, Ms. Dobbs felt a strange tingling sensation, like freezing cold

water, running down her left arm, which had just received the injection. A few moments later, she

experienced a pre-syncopal episode, during which she experienced heart palpitations, lightness of

breath, increased pulse, and an abnormally high blood pressure reading that was worthy of stroke.

       433.    She was monitored at the clinic for 45 minutes and then released. The nurse at the

clinic told her that she was either having a panic attack or a hot flash, and no further medical

assistance was offered. Ms. Dobbs was also told to file a “V-safe report,” an informal mechanism

to report to the CDC how one felt after taking the Covid vaccine.

       434.    Three days later, Ms. Dobbs suddenly felt a stabbing pain in her left upper back,

followed by tingling and numbness in her arms and involuntary tremors in both hands.



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       435.    Over the course of the next few weeks, she suffered additional symptoms, including

the following: extreme fatigue, autonomic dysfunction, heart palpitations, blood pressure

fluctuations, gastrointestinal problems, painful paresthesia and neuropathy, internal tremors, brain

fog, muscle pain and weakness, inability to feel pin pricks on her legs, dizziness, stiff neck,

intermittent tinnitus, headaches, temperature regulation issues, skin rashes, over-dilated eyes,

sound sensitivity, heavy-thick clotted menstrual cycles, as well as nocturnal convulsions, or

pseudo-seizures.

       436.    Ms. Dobbs’s symptoms became so severe that she spent weeks during which she

could barely get out of bed, and she could only manage to get to the living room couch to help her

kids with their schoolwork. It was impossible for her to make it as far as the kitchen to cook dinner

for her four young children.

       437.    In March 2021, Ms. Dobbs was invited to participate in NIH’s “investigation of

persistent neurological symptoms following SARS-CoV2 vaccine.”

       438.    She was seen by NIH neuroimmunologist Farinaz Safavi, who requested a blood

sample from Ms. Dobbs to test for autoantibodies post-Covid vaccination. Ms. Dobbs regularly

corresponded with Dr. Safavi throughout the month of March.

       439.    In May 2021, without explanation, Dr. Safavi requested to speak with Ms. Dobbs’

neurologist and informed Ms. Dobbs that NIH would no longer see her as a patient.

       440.    Without explanation, Ms. Dobbs’s neurologist also informed her that he would no

longer treat her. Ms. Dobbs was referred to a new neurologist who acknowledged that Ms. Dobbs

had “developed multiple symptoms after covid vaccination,” but was unable to treat her symptoms.

       441.    During the initial days following the vaccine, Ms. Dobbs felt extremely alone and

depressed. She often contemplated suicide.



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       442.    Ms. Dobbs turned to the internet for answers and possibly to find others who were

experiencing similar aftereffects of the Covid vaccine.

       443.    In February 2021, she came across an article in Neurology Today with a comment

at the bottom of the article from Dr. Danice Hertz, a retired gastroenterologist who had been injured

by the vaccine. Ms. Dobbs contacted Dr. Hertz by email, and they soon created an email thread,

including others who had been injured by the vaccine.

       444.    By March 2021, the email group had grown so large that Ms. Dobbs and a few

others decided to create a support group for the vaccine-injured on Facebook.

       445.    After about a week, Ms. Dobbs and the other group administrators decided to make

the group private, so that members could be vetted before being allowed to join. All applicants

were required to submit details regarding their symptoms, as well as the date of the vaccine

administration, brand of vaccine, treatment(s) attempted, and a description of their health status

prior to vaccination.

       446.    Ms. Dobbs is also a member of other vaccine-injured support groups, each of which

is strictly nonpartisan and fully focused on allowing vaccine-injured individuals to share their

experiences and discuss possible medical treatments.

       447.    On June 28, 2021, Ms. Dobbs participated in a press conference held by Senator

Ron Johnson, along with other vaccine-injured individuals, where they shared their experiences.

       448.    Within twenty-four hours of the press conference, one of Ms. Dobbs’s support

groups on Facebook was shut down and member lists were eliminated entirely under the claim that

the group had been spreading “misinformation.”

       449.    A few days after the press conference, another Facebook support group of which

Ms. Dobbs was a member was shut down for posting a link to the press conference and an



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infographic displaying certain symptoms that people had experienced post-Covid vaccine. As a

result of Facebook’s shutdown of the group, Ms. Dobbs lost contact with nearly two thousand

other vaccine-injured individuals who had been members of the group.

       450.    Around this time, Ms. Dobbs realized that she and other advocates for those injured

by the vaccine were being shadow banned on Facebook. This meant that her posts were no longer

visible to other users and that she could no longer see and read posts from several members of her

support groups.

       451.    In hopes of reconnecting with the lost group members, Ms. Dobbs joined a few new

vaccine-injured support groups. In all the groups, Ms. Dobbs and the other members had to use

code words to describe their experiences, symptoms, and medications because words such as

“vaccine,” “side effect,” “symptoms,” “Pfizer,” and “Moderna” would result in a post being

labeled as misinformation or removed.

       452.    Despite Ms. Dobbs’ efforts, many of her posts continue to be removed or flagged

as false, misleading, or potentially false information. The posts that are not removed are also often

labeled with a warning box directing viewers to visit CDC’s website for “reliable, up-to-date

information.” On multiple occasions, after removing her posts, Facebook has notified Ms. Dobbs

that the posts are “misinformation when public health authorities conclude that the information is

false and likely to contribute to imminent violence or physical harm.”

       453.    In February 2022, Ms. Dobbs joined React19 and continues to serve as its secretary,

a voluntary and unpaid position which she works from home. Ms. Dobbs is also a part of React19’s

advocacy team.




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       454.    In June 2022, React19 launched a new awareness campaign called “Can we talk

about it?” discussed above, which requested that participants post on social media a photo of their

arm and share what symptoms they had experienced after taking the vaccine.

       455.    Ms. Dobbs made a post about the awareness campaign in one of the vaccine-injured

support groups on Facebook. As a result, Facebook froze her account for three days and removed

the post for “violence and incitement.”

       456.    Ms. Dobbs now hesitates to post about her personal experience, whether on her

personal Facebook page or in one of her private support groups. She frequently feels she must

self-censor out of concern that her account will be frozen or the support groups will be shut down.

Her ability to speak freely, even in a private group context, with other members of the vaccine-

injured community about their symptoms, success stories, and possible medical treatments has

been severely limited.

       457.    Ms. Dobbs currently serves as the administrator of two Facebook support groups

for those injured by the vaccine and is a member of eight others.

               d. Nikki Holland

       458.    On February 12, 2021, Ms. Holland received her second dose of the Moderna Covid

vaccine, having had no symptoms following the first dose.

       459.    Within 36 hours of receiving the injection, she began to experience nausea,

vomiting, and extreme gastrointestinal discomfort.

       460.    The next day, she began to experience shortness of breath, fatigue, and weakness.

       461.    Five days after receiving the vaccine, her shortness of breath worsened to the point

that she had to leave work to go to the emergency room where she was treated for respiratory

failure. She had to be placed on a ventilator three times for breathing assistance. The third time,



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due to the urgent need for more advanced medical care, she had to be flown, or “life-flighted,” to

a larger hospital.

        462.    Ms. Holland soon also began to experience fluctuations of blood pressure and heart

rate, leg pain, fatigue, paresthesia, and her gastrointestinal problems worsened.

        463.    During the course of 2021, following Ms. Holland’s second dose of the vaccine,

she was hospitalized five times, life-flighted to a larger hospital five times, spent nearly 100 days

in the hospital, and spent one month in an inpatient rehabilitation center to gain enough strength

to return home.

        464.    Since taking the second dose of the vaccine, Ms. Holland has been diagnosed with

post-vaccination injury syndrome, chronic respiratory failure with hypoxia, laryngospasms, status

post tracheostomy, vocal cord dysfunction, systemic inflammatory response syndrome, food

intolerance, gastroparesis, abdominal distension, gastroesophageal reflux disease, dysphagia,

neurogenic bladder, critical illness myopathy, deep vein thrombosis, hemoptysis, sepsis, anxiety,

major depressive disorder, acute pain, lower extremity weakness, drop foot, gait abnormality,

muscle spasms, ataxia and neurological disorder. She became dependent on supplemental oxygen

and required a tracheostomy, a suprapubic catheter implant and bladder InterStim implant to assist

with urination, as well as a feeding tube for nutritional tolerance and support. She must also rely

on a wheelchair as an assistive device for mobility, along with multiple medications.

        465.    Ms. Holland sought assistance from multiple doctors and specialists but has seen

little improvement, and she continues to suffer on a daily basis. Formerly an active single mother

who worked full time and ran regularly, Ms. Holland now must rely on her three children for

assistance with basic tasks and often can barely get out of bed.




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       466.    As her symptoms worsened in 2021, she began to search Google for medical help

and social support. However, most searches turned up only CDC reports about the vaccine and a

sparse list of its known or acknowledged side effects.

       467.    Unable to find support or treatment, Ms. Holland became depressed and, at multiple

points, contemplated suicide.

       468.    In the summer of 2021, however, she discovered support groups on social media

platforms—primarily on Facebook—consisting of individuals around the world who had similar

post-vaccine experiences and symptoms. Ms. Holland’s mental state subsequently began to

improve, and her feelings of depression and alienation diminished.

       469.    On Facebook, Ms. Holland noticed that her own and others’ posts that contained

Covid-related words, such as “Covid vaccine” would be flagged with a box stating that the Covid

vaccine had been thoroughly tested “for safety and effectiveness” and providing a link to CDC’s

website, giving the impression that the posts were false or misleading.

       470.    Ms. Holland also noticed that the vaccine-injured support groups did not appear in

Facebook or Google searches. She could only locate the groups by typing out the full group page

address or by searching through her previous group connections.

       471.    Ms. Holland and other members of the vaccine-injured support groups began using

code words as substitutes for words including “vaccine,” “side effect,” “symptoms,” “Pfizer,” and

“Moderna” in an effort to prevent the posts from being removed or the groups being shut down.

       472.    Ms. Holland posted about her post-vaccine experience on Facebook, TikTok, and

YouTube, and she received warnings on each of the three platforms that her posts were misleading,

constituted misinformation, or violated the social media platforms’ rules and standards. At various

points, her accounts on these platforms were restricted from posting or sharing content.



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       473.      On November 14, 2021, YouTube removed Ms. Holland’s video in which she was

giving a speech about her post-vaccine experience at an event in Los Angeles. YouTube warned

her that, if she violated YouTube’s Community Guidelines again, her account would receive a

strike, and she would be unable to post, upload, or livestream for one week.

       474.      On February 24, 2022, YouTube removed a video in which Dr. Heather Melton

interviewed Ms. Holland and other vaccine-injured individuals about their post-vaccine

experiences.

       475.      On March 19, 2022, Facebook removed a post that Ms. Holland made discussing

data from HHS’s Vaccine Adverse Event Reporting System (VAERS), which showed that the

Moderna vaccine appeared to have produced 90% of recorded adverse Covid vaccine reactions.

Ms. Holland appealed the removal, and eventually Facebook allowed the post back up on her

personal page.

       476.      On December 13, 2022, YouTube removed a documentary film called

“Anecdotals,” in which Ms. Holland shared her post-vaccine experience. YouTube claimed that

the film contained misinformation and violated Community Guidelines.

       477.      On several occasions, including on February 26, 2022, August 1, 2022, October 21,

2022, and April 5, 2023, TikTok removed Ms. Holland’s video posts about her vaccine injuries

and recovery process, including personal speeches about her post-vaccine experience. TikTok

notified her that the videos violated “Community Guidelines.” According to TikTok, one of Ms.

Holland’s videos was removed for “Violent and graphic content.” Other videos were removed for

“integrity and authenticity” concerns.

       478.      Ms. Holland continues to believe that it is a risk to post on social media platforms

about what happened to her after taking the vaccine and feels limited in her ability to seek advice,



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support, and medical information from those who have had similar experiences. Each time she

posts about this subject matter, she fears that her post might be removed, her account frozen, or

her support group shut down.

                 e. Suzanna Newell

       479.      On April 13, 2021, Ms. Newell received her second dose of the Pfizer vaccine.

       480.      Prior to taking the vaccine, she was very active, regularly biking and competing in

triathlons. She had no underlying health conditions.

       481.      One day after receiving her second dose of the vaccine, Ms. Newell experienced

extreme fatigue, brain fog, a swollen lymph node in the neck, a forehead rash, and joint pain.

       482.      Over the next few weeks, her symptoms worsened, but she only spoke of her

condition to her closest friends out of concern that she would scare others out of getting the

vaccine.

       483.      On May 21, 2021, Ms. Newell’s condition had deteriorated to the point that she

could no longer walk unassisted.

       484.      On May 24, 2021, she went to the emergency room to seek treatment for her

symptoms. The doctor sent her home with a referral for an echocardiogram stress test.

       485.      Two days later, her symptoms exponentially worsened to the point that she feared

her body was shutting down and that she would die.

       486.      She was hospitalized for three days. Despite the numerous tests conducted, she left

the hospital with no answer as to the cause of her symptoms.

       487.      Ms. Newell continues to regularly see multiple neurologists, a rheumatologist,

cardiologist, allergist, neuro occupational therapist, physical therapist, among other medical

professionals.



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       488.    Ms. Newell has been diagnosed with small fiber neuropathy, Sjogren’s syndrome,

cryoglobulinemia vasculitis, super ventricular tachycardia, mild cardiovagal and adrenergic

dysfunction.

       489.    After two years, many of her symptoms have worsened, and she still frequently

struggles to perform simple tasks.

       490.    Ms. Newell’s primary doctor has attributed her symptoms to the Covid vaccine.

       491.    On September 30, 2022, Ms. Newell posted a video entitled “Kindness” on

YouTube in which she and a vaccine-injured friend discussed their difficult experiences and how

“Team Humanity” and the kindness of others had allowed them to maintain hope. They did not

make any claims about the Covid vaccine. YouTube removed the video for “misinformation” and

for violating its Community Guidelines.

       492.    In January 2023, Ms. Newell was interviewed about her post-vaccine experience

by Children’s Health Defense in Washington, D.C. After her husband shared the video of the

interview on Facebook, the post was labeled with a warning that it could cause “physical harm.”

Facebook notified him that another violation could result in his account being restricted.

       493.    Eventually, Ms. Newell turned to Facebook as a means of connecting with others

who had been injured after taking the vaccine, and as a way to spread hope and awareness. She

created a support group called Team Humanity, which focused on growing a supportive

community of the vaccine-injured and their friends and family.

       494.    To prevent the Team Humanity group from being shut down or its posts removed,

Ms. Newell and the other group members had to communicate in code and avoid using any words

related to Covid or the vaccine.




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       495.     After she created the support group, Ms. Newell became aware that she and other

members were being shadow banned on Facebook. This meant that her posts were no longer visible

to other users and that she could no longer see posts from several members of her support groups.

       496.     Currently, Ms. Newell rarely uses social media due to the ongoing threat of

censorship and the difficulties in constantly having to communicate in code to avoid posts being

labeled as “misinformation” or removed entirely.

       497.     Ms. Newell is currently a Board Member of React19 where she advocates for

vaccine-injured individuals and tries to spread understanding of those who have experienced

lasting effects of the Covid vaccine. Due to the censorship and related difficulties that she and

other members of React19 have faced, efforts to collaborate and spread awareness and support

have been, and continue to be, limited.

                e. Ernest Ramirez

       498.     Mr. Ramirez’s son Ernest Ramirez, Jr., was born on November 11, 2004. As a

teenager, he was very active and a talented baseball player for his high school team. He had never

had any health problems.

       499.     Early in 2021, Mr. Ramirez received both doses of the Moderna vaccine.

       500.     In April 2021, the Pfizer vaccine had been recommended by CDC as safe for

teenagers, so Ernest, Jr., received his first dose on April 19, 2021.

       501.     Five days later, on April 24, 2021, Ernest, Jr., collapsed while he was running in

the park. A police officer attempted to perform CPR on him, and he was taken by ambulance to

the hospital.

       502.     By the time Mr. Ramirez arrived at the hospital, he was informed that his sixteen-

year-old son was dead.



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        503.   According to the autopsy report, Ernest, Jr., had died of an enlarged heart,

myocarditis, and terminal cardiac arrhythmia. Acute inflammatory cells were detected in his heart

and liver.

        504.   After losing his son, Mr. Ramirez reached the darkest point of his life and no longer

wanted to go on living.

        505.   In the summer of 2021, however, Mr. Ramirez found new purpose and a means of

honoring his son’s memory when he began traveling and speaking about what had happened to

Ernest, Jr.

        506.   At first, Mr. Ramirez only spoke locally in Texas to raise awareness and share his

son’s story.

        507.   However, in August 2021, he launched a GoFundMe page to help fundraise enough

money for a trip to Washington, D.C. to share his son’s story in the nation’s capital.

        508.   Approximately one week later, GoFundMe notified Mr. Ramirez that his

GoFundMe account had been removed for violating the platform’s terms of service for “Prohibited

Conduct.” As a result, all the funds (approximately $2,000) that Mr. Ramirez had raised were

forfeited.

        509.   Subsequently, Mr. Ramirez created a fundraising page on LifeFunder to raise funds

for Washington, D.C., and he was ultimately able to raise enough to make the trip.

        510.    Mr. Ramirez also turned to social media platforms, such as Facebook, Twitter,

YouTube, and Instagram to share his son’s story and to connect with others who had been impacted

by vaccine injuries.




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       511.    In November 2021, Mr. Ramirez discovered vaccine-injured support groups on

social media. Through the support groups, he was able to share his son’s story, spread awareness,

and connect with others who had experienced similar hardships.

       512.    Frequently, Mr. Ramirez’s posts on social media have been removed or labeled as

misleading or false.

       513.    On November 11, 2021, Mr. Ramirez posted a photo of himself beside his son’s

casket at his funeral on Facebook and Twitter. The caption of the photo read: “My good byes to

my Baby Boy.”

       514.    Facebook flagged the post with a warning box viewable to other users labeling it

as “partly false information” and stating: “The same information was checked in another post by

independent fact-checkers.”

       515.    Twitter removed the photo altogether and warned Mr. Ramirez: “Make sure you’re

sharing reliable information. Visit the COVID-19 Information Center for reliable vaccine info and

resources.”

       516.    On August 21, 2021, Facebook removed Mr. Ramirez’s post in which he wrote:

“Getting ready to speak on behalf of my Baby Boy!” and restricted Mr. Ramirez’s account.

       517.    Facebook similarly removed Mr. Ramirez’s post of a quote by Plato: “No one is

more hated than he who speaks the truth.”

       518.    On October 1, 2022, Facebook labeled Mr. Ramirez’s post with a warning box as

“Partly false information. Checked by independent fact-checkers.”

       519.    On November 21, 2022, Twitter labeled Mr. Ramirez’s post with a warning box

stating that “it might have sensitive content.”

       520.    Mr. Ramirez has been suspended from Twitter and Facebook on multiple occasions.



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       521.    On November 29, 2021, YouTube labeled Mr. Ramirez’s video post in which Dr.

Peter McCullough discussed the death of Mr. Ramirez’s son as “Missing context.” The warning

label explained: “Independent fact-checkers say this information could mislead people.”

       522.    On February 15, 2023, YouTube removed Mr. Ramirez’s video post in which he

participated in a roundtable discussion held by Senator Ron Johnson on November 3, 2021, to

share his son’s story.      YouTube informed him that the content “violates our medical

misinformation policy,” stating that “it’s important to us that YouTube is a safe place for all.”

       523.    On April 4, 2023, YouTube notified Mr. Ramirez that it had removed two videos

he had posted and that Mr. Ramirez’s account had received “2 strikes” for posting content that

violated YouTube’s Community Guidelines. The two videos that YouTube removed were (1) an

interview in which Mr. Ramirez discussed his son’s death; and (2) a video of Mr. Ramirez driving

his son’s truck down the street.

       524.    Shortly after, YouTube restricted Mr. Ramirez’s ability to post a video that he had

received from a group of vaccine-injured individuals sharing their condolences on the anniversary

of his son’s death.

       525.    On May 15, 2023, Facebook flagged as “partly false” a video that Mr. Ramirez

posted earlier that day. Facebook warned Mr. Ramirez that posts of “[p]eople who repeatedly

share false information” are less likely to be visible to other users (i.e., shadow banned). The video

that Mr. Ramirez posted was a clip from an episode of the American television series “Conspiracy

Theory with Jesse Ventura.”

       526.    Currently, Mr. Ramirez’s YouTube account is suspended, and he is unable to make

any posts. YouTube has notified him that, if he receives a third strike, his account will be deleted

permanently.



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       527.     Currently, Instagram prevents Mr. Ramirez from being tagged in any posts,

including the posts of other users. When a user attempts to tag Mr. Ramirez, Instagram notifies

the user that Mr. Ramirez cannot be tagged because he “repeatedly posted content that goes against

our Community Guidelines on false content about COVID-19 or vaccines.”

       528.     Mr. Ramirez’s ability to share his son’s story, spread awareness of his personal

tragedy, and connect with others has been his primary lifeline since Ernest, Jr.’s death. However,

his ability to do so has been greatly limited by the ongoing censorship that Mr. Ramirez has faced.

       529.     Each time that he communicates about his son’s death on social media or any

related experience, Mr. Ramirez fears that his speech will be removed or labeled as

misinformation—or that his account will be frozen or removed entirely.


                                     CLAIMS FOR RELIEF

                     COUNT ONE – VIOLATION OF THE FIRST AMENDMENT
                           Against the Government Defendants

       530.     Plaintiffs incorporate by reference all of the preceding material as though fully set

forth herein.

       531.     Private action that violates constitutional rights may constitute state action that can

be attributed to the government in multiple ways.

       532.     As alleged herein, the Government Defendants have coerced, threatened, and

pressured social-media platforms to censor disfavored speakers and viewpoints by using threats of

adverse government action, including threats of increased regulation, antitrust enforcement or

legislation, and repeal or amendment of Section 230 CDA immunity, among others.

       533.     As alleged further herein, as a result of threats, pressure, and inducements, the

Government Defendants have colluded and worked in concert with social media platforms to

censor disfavored speakers and viewpoints, including by pressuring them to censor certain content
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and speakers, and “flagging” disfavored content and speakers for censorship. In doing so, the

Government Defendants have deprived Plaintiffs of their constitutional rights under the First

Amendment: namely, the freedom to both speak and receive speech, and the freedom of expressive

association.

       534.    Moreover, even absent threats, pressure, and inducements, the Defendants have

abridged Plaintiffs’ First Amendment rights by enabling the social media companies to coordinate

and systematize Defendants’ censorship program in relative uniformity across all of the platforms.

Unless each of the social media platforms restricts more-or-less the same types of speech, they

cannot effectively carry out Defendants’ mass censorship scheme. However, the social media

companies cannot coordinate among one another without violating antitrust laws, so they thus

depend upon government to supply the necessary coordination—to coordinate speech restrictions

across the dominant social media platforms. By supplying this coordination, Defendants have

reduced and thus abridged the freedom of speech guaranteed by the First Amendment.

       535.    The Government Defendants’ conduct readily qualifies as state action for several

independently sufficient reasons: (1) through the heavy and regular imposition of threats, pressure,

and encouragement, the federal government fostered, encouraged, and empowered the creation of

a small number of massive and dominant social media companies with disproportionate ability to

censor and suppress speech on the basis of speaker, content, and viewpoint; (2) federal officials—

including, most notably, the Government Defendants herein—have repeatedly and aggressively

threatened to remove legal benefits (i.e., Section 230 and the absence of antitrust enforcement) and

impose other adverse consequences on social media platforms if they do not increase censorship

and suppression of disfavored speakers, content, and viewpoints; and (3) the Government

Defendants herein, conspiring and colluding both with each other and social media firms, have



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directly coordinated with social media platforms to identify disfavored speakers, viewpoints, and

content and have procured the actual censorship and suppression of them on social media. These

actions have drastically impacted Plaintiffs’ First Amendment rights of free speech and freedom

of expressive association.

       536.    Defendants’ actions have injured and continue to injure Plaintiffs by suppressing

and chilling their exercise of free speech on social media platforms. Further, Defendants’

censorship has violated Plaintiffs’ First Amendment right to read and receive speech

communicated by other users on social media platforms, thus depriving Plaintiffs of information,

opinion, and companionship that could greatly benefit them in their adversity, that was and is

essential for their personal well-being and their participation in public life, and that matters in all

aspects of their lives. This injures not only Plaintiffs, but all social media users by reducing the

availability of free speech in what is meant to be a free marketplace of ideas.

       537.    The Government Defendants’ conduct inflicts imminent, ongoing, and continuing

irreparable injury on Plaintiffs, as further alleged herein.

       538.    To the extent that Plaintiffs are still able to use social media and other tech

platforms, they fear losing accounts and various other forms of reprisal, causing them to curtail

expression accordingly. Penny Saver Publications, Inc. v. Vill. of Hazel Crest, 905 F.2d 150, 154

(7th Cir. 1990) (“Constitutional violations may arise from the chilling effect of governmental

regulations that fall short of a direct prohibition against the exercise of First Amendment rights.”).

       539.    In sum, the Government Defendants’ censorship activities, targeting both content

and viewpoints that threaten—or even question—the federal government’s preferred narrative

have violated, and continue to violate, Plaintiffs’ First Amendment rights to free speech (including

the freedom both to speak and to receive information), and free expressive association.



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                        COUNT TWO—VIOLATION OF THE FIRST AMENDMENT
                           Against the De Facto Government Defendants
       540.     Plaintiffs incorporate by reference all of the preceding material as though fully set

forth herein.

       541.     As alleged herein, the De Facto Government Defendants engaged with the

government in its massive government/private joint censorship enterprise through SIO’s “Virality

Project,” to target and suppress speech on the basis of content and viewpoint.

       542.     Through the Virality Project, the De Facto Government Defendants built strong ties

with several federal government agencies, most notably the Office of the Surgeon General and the

CDC, and engaged in continuous, ongoing communication with government officials (which, on

information and belief, continues to this day) to execute the government’s censorship scheme.

       543.     The De Facto Government Defendants’ actions, in conjunction with the

Government Defendants, have injured and continue to injure Plaintiffs by suppressing and

chilling their exercise of free speech on social media platforms. As a result, Plaintiffs have been

deprived of their First Amendment rights to freely associate in private social media groups, and

to communicate and receive information, including from each other.

       544.     Through their joint participation and powerful nexus with the government in its

unconstitutional censorship enterprise, the De Facto Government Defendants plainly qualify as

state actors under Supreme Court precedent and must be held accountable as de facto

government actors.

         COUNT THREE—ULTRA VIRES ACTION BEYOND STATUTORY AUTHORITY
                     Against the Government Defendants

       545.     Plaintiffs incorporate by reference all of the preceding material as though fully set

forth herein.



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          546.   “An agency’s power is no greater than that delegated to it by Congress.” Lyng v.

Payne, 476 U.S. 926, 937 (1986). Agency actions that exceed the agency’s statutory authority are

ultra vires and must be invalidated.

          547.   No federal statute authorizes any of the Government Defendants to engage in the

course of conduct concerning the censorship and suppression of speech on social media, as alleged

herein.

          548.   No federal statute authorizes the Government Defendants to determine what

constitutes “misinformation,” “disinformation,” and/or “malinformation” in public discourse on

social media platforms; to direct, pressure, coerce, and encourage social media companies to

censor and suppress such speech; and/or to demand that private companies turn over information

about speech and speakers on their platforms in the interest of investigating “misinformation,”

“disinformation,” and/or “malinformation.”

          549.   The interpretation of any statute to purport to authorize such actions would

constitute a plain violation of the non-delegation doctrine and the major questions doctrine.

          550.   The Government Defendants and the federal officials acting in concert with them,

by adopting the censorship policies and conduct identified herein, have acted, and continue to

act, without any lawful authority whatsoever. No federal statute, regulation, constitutional

provision, or other legal authority authorizes their social media censorship program, and it is

wholly ultra vires.

          551.   The Government Defendants’ ultra vires actions inflict ongoing irreparable harm

on Plaintiffs, as alleged herein.




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                COUNT FOUR—ULTRA VIRES ACTION BEYOND CONSTITUTIONAL BOUNDS
                           Against the Government Defendants
       552.      Plaintiffs incorporate by reference all of the preceding material as though fully set

forth herein.

       553.      Congress is prohibited from conferring upon a federal agency power or authority

that is contrary to the Constitution. See, e.g., Bowsher v. Synar, 478 U.S. 714, 736 (1986) (“the

fact that a given law or procedure is efficient, convenient, and useful in facilitating functions of

government, standing alone, will not save it if it is contrary to the Constitution”) (cite omitted).

       554.      Further, “[a]n agency’s power is no greater than that delegated to it by Congress.”

Lyng v. Payne, 476 U.S. 926, 937 (1986).

       555.      Congress’s authority is “limited to those powers enumerated in the Constitution,”

as the Constitution withholds from Congress “a plenary police power that would authorize

enactment of every type of legislation.” United States v. Lopez, 514 U.S. 549 (1995); see also

Const. Art. I, § 8. Although Congress enjoys authority under the Commerce Clause to regulate

the channels and instrumentalities of commerce among the states, Gibbons v. Ogden, 22 U.S. 1,

91 (1824), including electronic channels and instrumentalities, it may not regulate noneconomic

matters, such as speech, that were never within the scope of the Commerce Clause and that only

indirectly have a substantial effect on interstate commerce. See James Wilson, State House Yard

Speech (Oct. 6, 1787), see https://csac.history.wisc.edu/wp-content/uploads/sites/281/2017/07/

James_Wilson.pdf (“a power similar to that which has been granted for the regulation of

commerce” was not “granted to regulate literary publications,” and thus “the proposed system

possesses no influence whatever upon the press”); United States v. Lopez, 514 U.S. at 557; United

States v. Morrison, 529 U.S. at 617.




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       556.     Moreover, the text of the Constitution is explicit that: “Congress shall make no

law… abridging the freedom of speech.” U.S. Const. Amend I. Any law or policy that “abridges”

or reduces the sphere of constitutionally protected speech thus violates the First Amendment.

       557.     Therefore, even if (contrary to what is alleged above) the Government Defendants’

censorship enterprise were within the bounds of the statutory authority delegated by Congress (it

is not), the Government Defendants’ conduct would, and does, remain ultra vires in violation of

any conceivable constitutional authority. Congress is not constitutionally authorized to confer

upon federal agencies any power, purpose, or authority beyond the Constitution’s enumerated

powers or in violation of the First Amendment.

       558.     In sum, no constitutional authority permits the Government Defendants’ censorship

activities, as alleged herein, which have violated and are continuing to violate Plaintiffs’ First

Amendment rights to free speech and free expressive association, so they are wholly ultra vires.

            COUNT FIVE – VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
                            Against the HHS Defendants

       559.     Plaintiffs incorporate by reference all of the preceding material as though fully set

forth herein.

       560.     Defendants HHS, CDC, Murthy, Becerra, Crawford, and Waldo are referred to

collectively herein as the “HHS Defendants.”

       561.     As set forth herein, the HHS Defendants’ conduct is unlawful, arbitrary and

capricious, an in excess of statutory authority under the Administrative Procedure Act.

       562.     The APA authorizes courts to hold unlawful and set aside final agency actions that

are found to be: “(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law; (B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of

statutory jurisdiction, authority, or limitations, or short of statutory right; (D) without observance

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of procedure required by law….” 5 U.S.C. § 706(2)(A)-(D). The HHS Defendants’ conduct

violates all these prohibitions.

        563.    In the Fifth Circuit, the “final agency action” requirement is a jurisdictional

threshold, not a merits inquiry, and is guided by the Supreme Court's interpretation of the APA's

finality requirement as ‘flexible’ and ‘pragmatic.’” Texas v. Equal Emp. Opportunity Comm’n,

933 F.3d 433, 440–41 (5th Cir. 2019) (quoting Abbott Labs. v. Gardner, 387 U.S. 136, 149 (1967)).

Even agency advisory opinions can be deemed to have “consummated the Department’s

decisionmaking process.” Data Mktg. P’ship, LP v. United States Dep’t of Lab., 45 F.4th 846, 853

(5th Cir. 2022). “The mere possibility that an agency might reconsider” its advisory “in light of

‘informal discussion’ and invited contentions of inaccuracy does not suffice to make an otherwise

final agency action nonfinal.” Sackett v. EPA, 566 U.S. 120, 127 (2012).

        564.    The HHS Defendants’ conduct alleged herein constitutes “final agency action”

because it “marks the consummation of the agency’s decisionmaking process.” Bennett v. Spear,

520 U.S. 154, 178 (1997) (quotation marks omitted). Further, it is action by which “rights or

obligations have been determined,” and “from which legal consequences will flow.”                  Id.

Defendants’ campaign of pressuring, threatening, and colluding with social media platforms to

suppress disfavored speakers, content, and speech are final agency actions of this sort. The actions

of Defendants alleged herein, on information and belief, reflect and result from a specific, discrete,

and identifiable decision of Defendants to adopt an unlawful social media censorship program.

        565.    Under the APA, a reviewing court shall “hold unlawful and set aside agency action,

findings, and conclusions found to be … arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A).




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        566.     The HHS Defendants’ actions are arbitrary, capricious, and an abuse of discretion

because they are being executed to favor the government’s viewpoint while suppressing dissent

therefrom.

        567.     Further, the HHS Defendants’ conduct is “contrary to constitutional right, power,

privilege, or immunity” because it violates the First Amendment rights of Plaintiffs. 5 U.S.C. §

706(2)(B).

        568.     The HHS Defendants’ conduct was “without observance of procedure required by

law” because it is a substantive policy or series of policies that affect legal rights that require notice

and comment, and yet they never engaged in any notice-and-comment process, or other process to

obtain input from the public, before engaging in these unlawful agency policies. 5 U.S.C. §

706(2)(D).

        569.     The HHS Defendants’ conduct is in excess of any statutory authority and thus

unlawful under the APA. See 5 U.S.C. §§ 706(2)(B), (C).

               COUNT SIX—VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT
                             Against the DHS Defendants

        570.     Plaintiffs incorporate by reference all of the preceding material as though fully set

forth herein.

        571.     Defendants DHS, CISA, Mayorkas, and Easterly are referred to collectively herein

as the “DHS Defendants.”

        572.     As set forth herein, the DHS Defendants’ conduct is unlawful, arbitrary and

capricious, an in excess of statutory authority under the Administrative Procedure Act.

        573.     The APA authorizes courts to hold unlawful and set aside final agency actions that

are found to be: “(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law; (B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of

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statutory jurisdiction, authority, or limitations, or short of statutory right; (D) without observance

of procedure required by law….” 5 U.S.C. § 706(2)(A)-(D). The DHS Defendants’ conduct

violates all these prohibitions.

        574.    The DHS Defendants’ conduct alleged herein constitutes “final agency action”

because it “marks the consummation of the agency’s decisionmaking process.” Bennett v. Spear,

520 U.S. 154, 178 (1997) (quotation marks omitted). Further, it is action from by which “rights

or obligations have been determined,” and “from which legal consequences will flow.” Id.

Defendants’ campaign of pressuring, threatening, and colluding with social media platforms to

suppress disfavored speakers, content, and speech are final agency actions of this sort. The actions

of Defendants alleged herein, on information and belief, reflect and result from a specific, discrete,

and identifiable decision of Defendants to adopt an unlawful social media censorship program.

        575.    Under the APA, a reviewing court shall “hold unlawful and set aside agency action,

findings, and conclusions found to be … arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706 (2)(A).

        576.    The DHS Defendants’ actions are arbitrary, capricious, and an abuse of discretion

because they are being executed to favor the government’s viewpoint while suppressing dissent

therefrom.

        577.    Further, the DHS Defendants’ conduct is “contrary to constitutional right, power,

privilege, or immunity” because it violates the First Amendment rights of Plaintiffs. 5 U.S.C. §

706(2)(B).

        578.    The DHS Defendants’ conduct was “without observance of procedure required by

law” because it is a substantive policy or series of policies that affect legal rights that require notice

and comment, and yet they never engaged in any notice-and-comment process, or other process to



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obtain input from the public, before engaging in these unlawful agency policies. 5 U.S.C. §

706(2)(D).

       579.    The DHS Defendants’ conduct is in excess of any statutory authority and thus

unlawful under the APA. See 5 U.S.C. §§ 706(2)(B), (C).

                                    PRAYER FOR RELIEF

       Plaintiffs respectfully request that the Court enter judgment in their favor and grant the

following relief:

               A.     A declaration that Defendants’ conduct violates the First Amendment of the

               United States Constitution, including the rights to free speech (both to express and

               receive speech) and free expressive association;

               B.     A declaration that Defendants’ conduct constitutes ultra vires action lacking

               statutory and constitutional authority, and that Defendants’ interpretation of its

               statutory authority in such a way as to authorize their conduct runs afoul of the

               nondelegation and major questions doctrines;

               C.     A declaration that Defendants’ conduct violates the Administrative

               Procedure Act and therefore is unlawful and invalid;

               D.     Injunctive relief restraining and enjoining all Defendants, excluding Biden,

               as well as their officers, officials, agents, servants, employees, attorneys, and all

               persons acting in concert or participation with them (see Fed. R. Civ. P. 65(d)(2)),

               from continuing to engage in unlawful conduct as alleged herein;

               E.     Injunctive relief restraining and enjoining all Defendants, excluding Biden,

               as well as their officers, officials, agents, servants, employees, attorneys, and all

               persons acting in concert or participation with them from engaging in any act to



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               demand, urge, pressure, or otherwise induce any social media platform to censor,

               suppress, de-platform, suspend, shadow ban, de-boost, restrict access to content, or

               take any other adverse action against any speaker, content, or viewpoint expressed

               on social media;

               F.     A declaration that Twitter and other social media companies are under no

               obligation    to   censor    content    (especially   content    deemed   COVID-19

               misinformation) and will not be penalized if they do not engage in viewpoint-based

               censorship;

               G.     Any equitable or remedial relief to which Plaintiffs are entitled, including

               but not limited to repayment of the funds that Mr. Ramirez raised on his GoFundMe

               account prior to his account being deleted, as alleged herein;

               H.     Nominal damages of $1 each;

               I.     Attorney’s fees pursuant to 42 U.S.C. § 1988; and

               J.     Any other relief that the Court may deem just and proper.

                                           JURY DEMAND

      Plaintiffs herein demand a trial by jury of any triable issues in the present matter.



May 22, 2023

                                                      Respectfully submitted,

                                                      /s/ Casey Norman
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